      Case 1:16-cr-00065-BAH Document 187 Filed 07/27/23 Page 1 of 39


                                                                   APPEAL,CAT B,INTERPRET
                             U.S. District Court
                  District of Columbia (Washington, DC)
           CRIMINAL DOCKET FOR CASE #: 1:16−cr−00065−BAH−1

Case title: USA v. GONZALEZ−VALENCIA                    Date Filed: 04/19/2016

Assigned to: Judge Beryl A. Howell
Appeals court case number: 22−3048

Defendant (1)
GERARDO                              represented by Geoffrey H. Coll
GONZALEZ−VALENCIA                                   BROWN RUDNICK LLP
also known as                                       601 13th Street, NW
LALO                                                Suite 600
also known as                                       Washington, DC 20005
FLACO                                               202−536−1736
also known as                                       Email: gcoll@brownrudnick.com
SILVER                                              LEAD ATTORNEY
also known as                                       ATTORNEY TO BE NOTICED
SILVERIO
also known as                                      Stephen A. Best
EDUARDO                                            BROWN RUDNICK, LLP
also known as                                      601 Thirteenth Street, NW
LALINE                                             Suite 600
                                                   Washington, DC 20005
                                                   (202) 536−1737
                                                   Fax: (202) 536−1701
                                                   Email: sbest@brownrudnick.com
                                                   LEAD ATTORNEY
                                                   ATTORNEY TO BE NOTICED
                                                   Designation: Retained

                                                   David Leighton Rosenthal
                                                   CONSOVOY MCCARTHY PLLC
                                                   1600 Wilson Blvd.
                                                   Suite 700
                                                   Arlington, VA 22209
                                                   (703) 243−9423
                                                   Email: david@consovoymccarthy.com
                                                   TERMINATED: 01/12/2022
                                                   Designation: Retained

                                                   G. Derek Andreson
                                                   BROWN RUDNICK LLP
                                                   601 Thirteenth Street, NW
                                                   Suite 600
                                                   Washington, DC 20005


                                                                                            1
       Case 1:16-cr-00065-BAH Document 187 Filed 07/27/23 Page 2 of 39


                                             202−536−1732
                                             Email: dandreson@brownrudnick.com
                                             TERMINATED: 05/20/2021
                                             Designation: Retained

                                             Lilly Ann Sanchez
                                             THE LS LAW FIRM
                                             Four Seasons Tower, Suite 1200
                                             1441 Brickell Avenue
                                             Miami, FL 33131
                                             305−503−5503
                                             Fax: 305−503−6801
                                             Email: lsanchez@thelsfirm.com
                                             ATTORNEY TO BE NOTICED
                                             Designation: Pro Hac Vice

                                             Natasha Ertzbischoff
                                             BROWN RUDNICK LLP
                                             7 Times Square
                                             New York, NY 10036
                                             212−209−4981
                                             Email: nertzbischoff@brownrudnick.com
                                             ATTORNEY TO BE NOTICED
                                             Designation: Retained

                                             Rachel O. Wolkinson
                                             BROWN, RUDNICK, FREED & GESMER
                                             601 13th Street, NW
                                             Suite 600
                                             Washington, DC 20005
                                             (202) 536−1755
                                             Email: rwolkinson@brownrudnick.com
                                             ATTORNEY TO BE NOTICED
                                             Designation: Retained

                                             Tiffany Brook Lietz
                                             BROWN RUDNICK LLP
                                             7 Times Square
                                             Ste Floor 47
                                             New York, NY 10036
                                             630−945−5445
                                             Email: tlietz@brownrudnick.com
                                             ATTORNEY TO BE NOTICED
                                             Designation: Pro Hac Vice

Pending Counts                               Disposition
21:959(a), 960, and 963, and Title 18,       Defendant sentenced to serve a term of life
United States Code Section 2;                imprisonment; a $100.00 special assessment
CONTROLLED SUBSTANCE −                       imposed; imposition of a fine waived; money
IMPORTATION/EXPORTATION;                     judgment in the amount of $341,000,000
Conspiracy to Distribute 5 Kilograms         entered.


                                                                                           2
         Case 1:16-cr-00065-BAH Document 187 Filed 07/27/23 Page 3 of 39


or more of Cocaine, and 500 Grams or
more of Methamphetamine, for
Importation into the United States.
(1)

Highest Offense Level (Opening)
Felony

Terminated Counts                                Disposition
None

Highest Offense Level (Terminated)
None

Complaints                                       Disposition
None



Plaintiff
USA                                     represented by Kaitlin Julia Sahni
                                                       U.S. DEPARTMENT OF JUSTICE
                                                       Narcotics and Dangerous Drug Section
                                                       145 N Street, NE
                                                       Second Floor, East Wing
                                                       Washington, DC 20530
                                                       (202) 598−2493
                                                       Fax: (202) 514−6112
                                                       Email: kaitlin.sahni@usdoj.gov
                                                       LEAD ATTORNEY
                                                       ATTORNEY TO BE NOTICED
                                                       Designation: Assistant U.S. Attorney

                                                      Kate M. Naseef
                                                      U.S. DEPARTMENT OF JUSTICE
                                                      Criminal Division, Narcotic and
                                                      Dangerous Drug Section
                                                      45 N Street, NE
                                                      Washington, DC 20530
                                                      202−353−8810
                                                      Email: kate.naseef@usdoj.gov
                                                      LEAD ATTORNEY
                                                      ATTORNEY TO BE NOTICED
                                                      Designation: Assistant U.S. Attorney

                                                      Kirk Kenneth Handrich
                                                      UNITED STATES DEPARTMENT OF
                                                      JUSTICE


                                                                                              3
      Case 1:16-cr-00065-BAH Document 187 Filed 07/27/23 Page 4 of 39


                                                             Narcotic and Dangerous Drug Section
                                                             145 N St. NE, East Wing
                                                             Suite 2E300
                                                             Ste 2e1203
                                                             Washington, DC 20530
                                                             202−514−0422
                                                             Email: Kirk.Handrich@usdoj.gov
                                                             LEAD ATTORNEY
                                                             ATTORNEY TO BE NOTICED
                                                             Designation: Assistant U.S. Attorney

                                                             Amanda Nunn Liskamm
                                                             U.S. DEPARTMENT OF JUSTICE
                                                             Narcotics and Dangerous Drug Section
                                                             145 N Street, NE
                                                             Second Floor, East Wing
                                                             Washington, DC 20530
                                                             (202) 616−1576
                                                             Fax: (202) 514−0483
                                                             Email: amanda.liskamm@usdoj.gov
                                                             TERMINATED: 11/08/2022
                                                             Designation: Assistant U.S. Attorney

                                                             Brett Clarence Reynolds
                                                             DOJ−NSD
                                                             Criminal Division, Narcotic and
                                                             Dangerous Drug Section
                                                             950 Pennsylvania Avenue NW
                                                             Washington, DC 20530
                                                             202−598−2950
                                                             Email: brett.reynolds@usdoj.gov
                                                             TERMINATED: 11/08/2022
                                                             Designation: Assistant U.S. Attorney

Date Filed   #   Docket Text
04/19/2016   1   INDICTMENT as to GERARDO GONZALEZ−VALENCIA (1) count(s) 1.
                 (FORFEITURE ALLEGATION.) (vt) (Entered: 04/20/2016)
04/21/2016   2   STANDING ORDER. Signed by Chief Judge Beryl A. Howell on 4/21/2016. (tg)
                 (Entered: 04/21/2016)
08/03/2016   3   Case as to GERARDO GONZALEZ−VALENCIA directly reassigned to Calendar
                 Committee as the defendant is a fugitive. Chief Judge Beryl A. Howell no longer
                 assigned to the case. (ztnr) (Entered: 08/05/2016)
05/11/2020   4   NOTICE OF ATTORNEY APPEARANCE Kaitlin Julia Sahni appearing for USA.
                 (Sahni, Kaitlin) (Entered: 05/11/2020)
05/14/2020   5   NOTICE OF ATTORNEY APPEARANCE Brett Clarence Reynolds appearing for
                 USA. (Reynolds, Brett) (Entered: 05/14/2020)
05/14/2020       Arrest of GERARDO GONZALEZ−VALENCIA. (zpt) (Entered: 05/19/2020)


                                                                                                    4
     Case 1:16-cr-00065-BAH Document 187 Filed 07/27/23 Page 5 of 39



05/14/2020   12   Arrest Warrant Returned Executed on 5/14/2020 as to GERARDO
                  GONZALEZ−VALENCIA. (zpt) (Entered: 05/19/2020)
05/15/2020    7   Case as to GERARDO GONZALEZ−VALENCIA directly reassigned to Chief Judge
                  Beryl A. Howell as the defendant is no longer a fugitive. Calendar Committee is no
                  longer assigned to the case. (rj) (Entered: 05/15/2020)
05/15/2020        ORAL MOTION to Appoint Counsel for the purposes of the Initial Appearance Hearing
                  by GERARDO GONZALEZ−VALENCIA. (zpt) (Entered: 05/18/2020)
05/15/2020        Minute Entry for proceedings held before Magistrate Judge G. Michael Harvey: Initial
                  Appearance/Arraignment as to GERARDO GONZALEZ−VALENCIA (1) held on
                  5/15/2020 as to all counts. Oral Motion to Appoint Counsel for the purposes of the
                  Initial Appearance/Arraignment by GERARDO GONZALEZ−VALENCIA (1) Heard
                  and Granted. Not Guilty Plea entered by GERARDO GONZALEZ−VALENCIA (1) as
                  to all counts. Consular notification rights given to the Defendant by the Government.
                  Detention Hearing set for 5/20/2020 at 03:00 PM in Telephonic/VTC before Magistrate
                  Judge G. Michael Harvey. Bond Status of Defendant: Defendant
                  Committed/Commitment Issued; Court Reporter: Jeff Hook; Defense Attorney: David
                  Bos for Stephen Best; US Attorney: Kaitlin Sahni and Brett Reynolds; Pretrial Officer:
                  Masharia Holman; Spanish Interpreter: Teresa Salazaar; (zpt) Modified on 5/20/2020
                  (zpt). (Entered: 05/19/2020)
05/18/2020        NOTICE OF HEARING as to GERARDO GONZALEZ−VALENCIA. The parties shall
                  take notice that a Status Hearing is scheduled for 5/19/2020, at 10:30 AM before Chief
                  Judge Beryl A. Howell. (tg) (Entered: 05/18/2020)
05/18/2020    8   NOTICE OF ATTORNEY APPEARANCE: Stephen A. Best appearing for GERARDO
                  GONZALEZ−VALENCIA (Best, Stephen) (Entered: 05/18/2020)
05/18/2020    9   NOTICE OF ATTORNEY APPEARANCE: G. Derek Andreson appearing for
                  GERARDO GONZALEZ−VALENCIA (Best, Stephen) Modified attorney on 5/18/2020
                  (znmw). (Entered: 05/18/2020)
05/18/2020   10   ENTERED IN ERROR....NOTICE OF ATTORNEY APPEARANCE: Stephen A. Best
                  appearing for GERARDO GONZALEZ−VALENCIA Lilly A Sanchez (Best, Stephen)
                  Modified on 5/18/2020 (zhsj). (Entered: 05/18/2020)
05/18/2020        NOTICE OF CORRECTED DOCKET ENTRY: as to GERARDO
                  GONZALEZ−VALENCIA re 10 Notice of Attorney Appearance − Defendant was
                  entered in error and counsel was instructed to refile said pleading as a Pro Hac Vice
                  because Ms. Sanchez is not a member of the bar of this court. (hsj) (Entered:
                  05/18/2020)
05/19/2020   11   Unopposed MOTION for Protective Order by USA as to GERARDO
                  GONZALEZ−VALENCIA. (Attachments: # 1 Text of Proposed Order Proposed
                  Protective Order)(Reynolds, Brett) (Entered: 05/19/2020)
05/19/2020        MINUTE ORDER granting 11 Unopposed Motion for Protective Order as to
                  GERARDO GONZALEZ−VALENCIA. Signed by Chief Judge Beryl A. Howell on
                  5/19/2020. (tg) (Entered: 05/19/2020)
05/19/2020   14   PROTECTIVE ORDER as to GERARDO GONZALEZ−VALENCIA. Signed by Chief
                  Judge Beryl A. Howell on May 19, 2020. (lcbah2) (Entered: 05/19/2020)
05/19/2020


                                                                                                           5
     Case 1:16-cr-00065-BAH Document 187 Filed 07/27/23 Page 6 of 39



                  Minute Entry for proceedings held before Chief Judge Beryl A. Howell: Telephonic
                  Status Hearing as to GERARDO GONZALEZ−VALENCIA held on 5/19/2020. The
                  Defendant appearing via video conference. A further Status Hearing is scheduled for
                  7/24/2020, at 9:30 AM in Courtroom 22A before Chief Judge Beryl A. Howell. Time
                  excluded under the Speedy Trial Act without objection from 5/19/2020 through
                  7/24/2020. The Court found that given the voluminous discovery that needs to be
                  translated from Spanish, the time that defense counsel will need to review the discovery
                  and discuss it with his client, time under the Speedy Trial Act shall be excluded in the
                  best interests of justice and those interests outweigh the interests of the public and the
                  defendant in a speedy trial. Bond Status of Defendant: Defendant committed. Present
                  telephonically: Defense Attorneys: Stephen A. Best, Derek Andreson, and Lilly A.
                  Sanchez; US Attorneys: Brett C. Reynolds and Kaitlin Sahni; and the Defendant. Court
                  Reporter: Elizabeth Saint−Loth. (tg) Modified on 5/19/2020 (tg). (Entered: 05/19/2020)
05/19/2020   15   MEMORANDUM in Support of Pretrial Detention by USA as to GERARDO
                  GONZALEZ−VALENCIA (Attachments: # 1 Exhibit 1)(Sahni, Kaitlin) Modified on
                  5/25/2020 (zhsj). Modified on 5/26/2020 (znmw). (Entered: 05/19/2020)
05/19/2020        ENTERED IN ERROR (DISREGARD).....NOTICE OF CORRECTED DOCKET
                  ENTRY: as to GERARDO GONZALEZ−VALENCIA re 15 Memorandum in Support
                  of Pretrial Detention was entered in error and counsel was instructed to refile said
                  pleading. Document need to be filed as a Memorandum in Support of Pretrial Detention
                  not a motion. (zhsj) Modified on 5/26/2020 (znmw). (Entered: 05/25/2020)
05/20/2020   16   MOTION for Leave to Appear Pro Hac Vice Lilly Ann Sanchez Filing fee $ 100, receipt
                  number ADCDC−7143693. Fee Status: Fee Paid. by GERARDO
                  GONZALEZ−VALENCIA. (Attachments: # 1 Application for Admission Pro Hac Vice,
                  # 2 Text of Proposed Order Proposed Order)(Best, Stephen) (Entered: 05/20/2020)
05/20/2020        ORAL MOTION to Commit Defendant to Custody of Attorney General by USA as to
                  GERARDO GONZALEZ−VALENCIA. (zpt) Modified date on 5/21/2020 (zpt).
                  (Entered: 05/21/2020)
05/20/2020        Minute Entry for proceedings held before Magistrate Judge G. Michael Harvey:
                  Detention Hearing as to GERARDO GONZALEZ−VALENCIA (1) held on 5/20/2020.
                  Oral Motion by the Government to Commit Defendant to Custody of Attorney General
                  as to GERARDO GONZALEZ−VALENCIA (1) Heard and Granted. Defendant
                  concedes to detention but reserves rights to bring up the matter of detention at a later
                  date. 16 Motion for Leave to Appear Pro Hac Vice Lilly Ann Sanchez Heard and
                  Granted. Bond Status of Defendant: Defendant Committed/Commitment Issued; Court
                  Reporter: Lisa Moreira; Defense Attorney: Stephen Best, G. Derek Andreson, and Lilly
                  Sanchez; US Attorney: Kaitlin Sahni; Pretrial Officer: Masharia Holman; (zpt) (Entered:
                  05/21/2020)
05/21/2020        MINUTE ORDER (paperless) as to GERARDO GONZALEZ−VALENCIA
                  GRANTING the defendant's 16 Motion to Appear Pro Hac Vice. Ms. Lilly Ann Sanchez
                  may enter an appearance pro hac vice for the purpose of representing the defendant in
                  this action. Signed by Chief Judge Beryl A. Howell on May 21, 2020. (lcbah2) (Entered:
                  05/21/2020)
05/28/2020   17   NOTICE OF ATTORNEY APPEARANCE: G. Derek Andreson appearing for
                  GERARDO GONZALEZ−VALENCIA (Andreson, G.) (Entered: 05/28/2020)
05/29/2020   18   WITHDRAWN.....MOTION for Bill of Particulars by GERARDO
                  GONZALEZ−VALENCIA. (Attachments: # 1 Text of Proposed Order Proposed

                                                                                                               6
     Case 1:16-cr-00065-BAH Document 187 Filed 07/27/23 Page 7 of 39



                  Order)(Best, Stephen) Modified on 6/18/2020 (ztg). (Entered: 05/29/2020)
06/05/2020   19   NOTICE OF ATTORNEY APPEARANCE: Lilly Ann Sanchez appearing for
                  GERARDO GONZALEZ−VALENCIA (Sanchez, Lilly) (Entered: 06/05/2020)
06/12/2020   20   Memorandum in Opposition by USA as to GERARDO GONZALEZ−VALENCIA re 18
                  MOTION for Bill of Particulars (Sahni, Kaitlin) (Entered: 06/12/2020)
06/17/2020        MINUTE ORDER (paperless) as to GERARDO GONZALEZ−VALENCIA
                  DIRECTING the government, by June 22, 2020, to supplement its 20 Opposition to
                  Defendant's 18 Motion for a Bill of Particulars by identifying, for each of the six
                  categories for which particulars are requested, precisely what information has been
                  provided in discovery, not merely the format of that information in "intercepted
                  communications," "evidence of a cocaine seizure," "financial documents," "letters
                  written by the Defendant," and "surveillance photographs." Gov't's Opp'n at 2, 9. To be
                  sure, as the government notes, "if the requested information is available in some other
                  form, then a bill of particulars is not required." United States v. Butler, 822 F.2d 1191,
                  1193 (D.C. Cir. 1987). In practice, this means the government must do more than merely
                  promise "the Defendant will have adequate information to prepare for his defense from
                  the Indictment and the discovery that the Government has produced," Gov't's Opp'n at 6,
                  and must instead show that the requested information has been provided in discovery,
                  particularly given the scope of the charged conspiracy here, which allegedly spans
                  thirteen years from approximately 2003 through April 19, 2016, the date of the
                  indictment, and multiple countries, occurring "in Mexico, the United States, and
                  elsewhere." Gov't's Opp'n at 2; see, e.g., Butler, 822 F.2d at 1193−1194 (affirming
                  denial of requested bill of particulars where government's response to request "furnished
                  essentially the information that [defendant] had requested"); United States v.
                  Mosquera−Murillo, 153 F. Supp. 3d 130, 145 (D.D.C. 2015) (denying defense motion
                  for bill of particulars after "government filed supplemental briefing providing more
                  detailed information as to the evidence produced to the defendants responsive to each of
                  the seven categories identified in the defendants' motion"). Signed by Chief Judge Beryl
                  A. Howell on June 17, 2020. (lcbah2) (Entered: 06/17/2020)
06/17/2020        Set/Reset Deadlines as to GERARDO GONZALEZ−VALENCIA: Government's
                  response to Order of the Court due by 6/22/2020. (ztg) (Entered: 06/17/2020)
06/17/2020   21   MOTION to Withdraw Document 18 MOTION for Bill of Particulars by GERARDO
                  GONZALEZ−VALENCIA. (Attachments: # 1 Text of Proposed Order Proposed
                  Order)(Best, Stephen) (Entered: 06/17/2020)
06/18/2020        MINUTE ORDER as to GERARDO GONZALEZ−VALENCIA. GRANTING 21
                  Defendant Gerardo Gonzalez−Valencia's Motion to Withdraw Motion for Bill of
                  Particulars Without Prejudice. Upon consideration of the Defendant's motion, it is
                  hereby ORDERED that the Defendant's 18 Motion for Bill of Particulars shall be
                  withdrawn without prejudice. It is FURTHER ORDERED that in light of the
                  Defendant's withdrawal of his Motion for Bill of Particulars, the Minute Order entered
                  on June 17, 2020, directing the government to supplement its opposition, is hereby
                  VACATED. Signed by Chief Judge Beryl A. Howell on 6/18/2020. (ztg) (Entered:
                  06/18/2020)
06/18/2020        Terminate Deadlines as to GERARDO GONZALEZ−VALENCIA: Government's
                  response to Order of the Court on 6/22/2020, TERMINATED. (ztg) (Entered:
                  06/18/2020)
06/24/2020

                                                                                                               7
     Case 1:16-cr-00065-BAH Document 187 Filed 07/27/23 Page 8 of 39



                  NOTICE OF RESCHEDULED TIME OF HEARING as to GERARDO
                  GONZALEZ−VALENCIA. The parties shall take notice that the Status Hearing
                  scheduled to the heard at 9:30 AM on 7/24/2020, is RESCHEDULED for 7/24/2020, at
                  10:00 AM before Chief Judge Beryl A. Howell via video conference. Video conference
                  connection details will be provided by the deputy clerk. (ztg) (Entered: 06/24/2020)
07/24/2020        Minute Entry for proceedings held before Chief Judge Beryl A. Howell: Status Hearing
                  via video conference as to GERARDO GONZALEZ−VALENCIA held on 7/24/2020.
                  The Defendant agreed to appear via video conference after consultation with counsel. A
                  further Status Hearing is scheduled for 10/23/2020, at 10:00 AM in Courtroom 22A
                  before Chief Judge Beryl A. Howell. The Defendant agreed to exclude time under the
                  Speedy Trial Act from today until 10/23/2020. The Court found that time shall be
                  excluded under the Speedy Trial Act from 7/24/2020 through 10/23/2020, in the
                  interests of justice and those interests outweigh the interests of Mr. Gonzalez−Valencia
                  and the public in a speedy trial, and in order to allow the government to complete
                  discovery and defense counsel to review and discuss the evidence with their client, and
                  for the parties to discuss resolution of this case short of trial, if appropriate. Bond Status
                  of Defendant: Defendant committed. Present via video conference and telephonically:
                  Defense Attorneys: G. Derek Andreson and Lilly A. Sanchez; US Attorney: Kaitlin J.
                  Sahni; Interpreter: Teresa Roman (sworn). Court Reporter: Elizabeth Saint−Loth. (ztg)
                  (Entered: 07/24/2020)
08/31/2020   22   MOTION for Leave to Appear Pro Hac Vice Tiffany B. Lietz Filing fee $ 100, receipt
                  number ADCDC−7531016. Fee Status: Fee Paid. by GERARDO
                  GONZALEZ−VALENCIA. (Attachments: # 1 Application for Admission Pro Hac Vice,
                  # 2 Text of Proposed Order Proposed Order)(Best, Stephen) (Entered: 08/31/2020)
09/02/2020        MINUTE ORDER (paperless) as to GERARDO GONZALEZ−VALENCIA
                  GRANTING defendant's 22 Motion for Admission Pro Hac Vice. Tiffany B. Lietz may
                  enter an appearance pro hac vice for the purpose of representing the defendant in this
                  action. Counsel should register for e−filing via PACER and file a notice of
                  appearance pursuant to LCrR 44.5(a). Click for Instructions. Signed by Chief Judge
                  Beryl A. Ho well on September 1, 2020. (lcbah2) (Entered: 09/02/2020)
09/10/2020   23   NOTICE OF ATTORNEY APPEARANCE: Tiffany Brook Lietz appearing for
                  GERARDO GONZALEZ−VALENCIA (Lietz, Tiffany) (Entered: 09/10/2020)
10/14/2020        MINUTE ORDER (paperless) as to GERARDO GONZALEZ−VALENCIA
                  DIRECTING the parties, in light of the Court's Notice, see Court Operations: Transition
                  to Phase 2 Beginning September 14, 2020 (available at
                  https://www.dcd.uscourts.gov/sites/dcd/files/COVID%2019%20Notice%20Transition%
                  20to%20Phase%202.pdf), to notify the Court, by October 19, 2020, whether they
                  consent to appearing at the next Status Hearing, currently scheduled for October 23,
                  2020 at 10:00 AM, via videoconference. Signed by Chief Judge Beryl A. Howell on
                  October 14, 2020. (lcbah2) Modified hearing type on 10/16/2020 (ztg). (Entered:
                  10/14/2020)
10/15/2020        Set/Reset Deadlines as to GERARDO GONZALEZ−VALENCIA: Response to Order of
                  the Court due by 10/19/2020. (ztg) (Entered: 10/15/2020)
10/20/2020   24   RESPONSE by USA as to GERARDO GONZALEZ−VALENCIA re Order,, (Sahni,
                  Kaitlin) (Entered: 10/20/2020)
10/23/2020        Minute Entry for proceedings held before Chief Judge Beryl A. Howell: Status Hearing
                  as to GERARDO GONZALEZ−VALENCIA held via video conference on 10/23/2020.

                                                                                                                   8
     Case 1:16-cr-00065-BAH Document 187 Filed 07/27/23 Page 9 of 39



                  A further Status Hearing is scheduled for 1/29/2021, at 10:00 AM before Chief Judge
                  Beryl A. Howell. The Defendant agreed to exclude time under the Speedy Trial Act
                  from today until the next status hearing of 1/29/2021. The Court found that due to the
                  extensive discovery being reviewed and discussed, and the ongoing discussions to
                  resolve this case short of trial, time under the Speedy Trial Act shall be excluded in the
                  interests of justice and those interests outweigh the interests of the public and the
                  defendant in a speedy trial. Bond Status of Defendant: Defendant committed. Present via
                  video conference: Defense Attorneys: Stephen A. Best and Lilly A. Sanchez; US
                  Attorneys: BrettC. Reynolds and Kaitling Sahni; Interpreter: Teresa Salazar
                  (telephonically). Court Reporter: Elizabeth Saint−Loth. (ztg) (Entered: 10/23/2020)
01/25/2021   25   NOTICE OF ATTORNEY APPEARANCE: Rachel O. Wolkinson appearing for
                  GERARDO GONZALEZ−VALENCIA (Wolkinson, Rachel) (Entered: 01/25/2021)
01/29/2021        Minute Entry for proceedings held before Chief Judge Beryl A. Howell: Status Hearing
                  as to GERARDO GONZALEZ−VALENCIA held via videoconference on 1/29/2021.
                  The Defendant agreed to participate via videoconference. A further Status Hearing is
                  scheduled for 5/21/2021, at 10:00 AM before Chief Judge Beryl A. Howell. Time
                  excluded under the Speedy Trial Act from today until the next hearing date of
                  5/21/2021. The Court found that time under the Speedy Trial Act shall be excluded from
                  1/29/2021 through 5/21/2021, in the interests of justice and those interests outweigh the
                  interests of the public and the defendant in a speedy trial in order to allow the defendant
                  more time to consult with counsel about the voluminous discovery that needs to be
                  processed and translated by the government and defense counsel. Bond Status of
                  Defendant: Defendant committed. Present via videoconference: Defense Attorney:
                  Stephen A. Best, Rachel O. Wolkinson, Tiffany B. Lietz, and Lilly A. Sanchez; US
                  Attorney: Brett C. Reynolds and Kaitlin J. Sahni; Interpreter: Teresa Salazar (Spanish).
                  Court Reporter: Elizabeth Saint−Loth. (ztg) (Entered: 01/29/2021)
04/15/2021        Set/Reset Hearings as to GERARDO GONZALEZ−VALENCIA: The parties shall take
                  notice that the status hearing scheduled for May 21, 2021, at 10:00 AM is
                  RESCHEDULED for May 21, 2021, at 10:30 AM via videoconference before Chief
                  Judge Beryl A. Howell. A videoconference link will be provided by the deputy clerk
                  nearest the hearing date. (ztg) (Entered: 04/15/2021)
05/19/2021   26   MOTION to Withdraw as Attorney by G. Derek Andreson. by GERARDO
                  GONZALEZ−VALENCIA. (Andreson, G.) (Entered: 05/19/2021)
05/19/2021   27   MOTION to Withdraw as Attorney by Rachel O. Wolkinson. by GERARDO
                  GONZALEZ−VALENCIA. (Wolkinson, Rachel) (Entered: 05/19/2021)
05/20/2021        NOTICE of Provisional/Government Not Certified Status re 26 MOTION to Withdraw
                  as Attorney by G. Derek Andreson. by GERARDO GONZALEZ−VALENCIA.
                  (Andreson, G.).

                  Your attorney renewal/government certification has not been received. As a result, your
                  membership with the U.S. District & Bankruptcy Courts for the District of Columbia is
                  not in good standing, and you are not permitted to file. Pursuant to Local Criminal Rule
                  57.21.1, you must immediately correct your membership status by following the
                  appropriate instructions on this page of our website:
                  https://www.dcd.uscourts.gov/attorney−admissions−and−renewal−information.

                  Please be advised that the presiding judge in this case has been notified that you are
                  currently not in good standing to file in this court. Renewal Due by 5/27/2021. (znmw)

                                                                                                                9
     Case 1:16-cr-00065-BAH Document 187 Filed 07/27/23 Page 10 of 39



                  (Entered: 05/20/2021)
05/20/2021        MINUTE ORDER granting 26 Motion to Withdraw as Attorney filed by G. Derek
                  Andreson; granting 27 Motion to Withdraw as Attorney filed by Rachel O. Wolkinson.
                  Signed by Chief Judge Beryl A. Howell on 5/20/2021. (ztg) (Entered: 05/20/2021)
05/20/2021   28   NOTICE OF ATTORNEY APPEARANCE Kate M. Naseef appearing for USA.
                  (Naseef, Kate) (Entered: 05/20/2021)
05/21/2021        Minute Entry for proceedings held before Chief Judge Beryl A. Howell:Status Hearing
                  as to GERARDO GONZALEZ−VALENCIA held via videoconference on 5/21/2021.
                  The Defendant agreed to participate via videoconference. Jury Selection/Jury Trial
                  scheduled for 2/7/2022, at 9:00 AM in Courtroom 22A before Chief Judge Beryl A.
                  Howell; trial scheduling order to be issued by the Court. The Defendant agreed to
                  exclude time under the Speedy Trial Act from today until the trial date of 2/7/2022. The
                  Court found that time under the Speedy Trial Act shall be excluded from 5/21/2021
                  through 2/7/2022, in the interests of justice and those interests outweigh the interests of
                  the public and the defendant in a speedy trial in order to give the parties time to prepare
                  for trial. Bond Status of Defendant: Defendant committed. Present via videoconference:
                  Defense Attorneys: Stephen A. Best (telephonically) and Lilly A. Sanchez; US
                  Attorneys: Brett C. Reynolds and Kaitlin Sahni; Interpreter: Teresa Salazar. Court
                  Reporter: Elizabeth Saint−Loth. (ztg) (Entered: 05/21/2021)
05/21/2021        MINUTE ORDER (paperless) as to GERARDO GONZALEZ−VALENCIA,
                  ENTERING, in light of the parties' representations at the May 21, 2021 status
                  conference in this matter, the following SCHEDULING ORDER:
                  (1) by October 4, 2021, the parties shall file any pretrial motions other than motions in
                  limine; by October 18, 2021, any oppositions to pretrial motions shall be filed; by
                  October 25, 2021, any replies to oppositions to pretrial motions shall be filed;
                  (2) at 11:00 AM on November 19, 2021, the parties shall appear for a hearing on any
                  pretrial motions in Courtroom 22A before Chief Judge Beryl A. Howell;
                  (3) by December 15, 2021, any motions in limine shall be filed; by December 29, 2021,
                  any oppositions to motions in limine shall be filed; and by January 5, 2022, any replies
                  to oppositions to motions in limine shall be filed;
                  (4) by December 15, 2021, the parties shall file their Joint Pretrial Statement. See 2
                  Standing Order ¶ 8;
                  (5) on January 21, 2022 at 11:00 AM, the parties are directed to appear for a pretrial
                  conference in Courtroom 22A before Chief Judge Beryl A. Howell; and
                  (6) on February 7, 2022 at 9:00 AM, the parties are directed to appear for jury selection
                  in Courtroom 22A before Chief Judge Beryl A. Howell. Signed by Chief Judge Beryl A.
                  Howell on May 21, 2021. (lcbah3) (Entered: 05/21/2021)
05/21/2021        Set/Reset Deadlines/Hearings as to GERARDO GONZALEZ−VALENCIA: Pretrial
                  motions due by 10/4/2021; oppositions due by 10/18/2021; replies due by 10/25/2021;
                  Motion Hearing set for 11/19/2021, at 11:00 AM in Courtroom 22A before Chief Judge
                  Beryl A. Howell; motions in Limine due by 12/15/2021; oppositions due by 12/29/2021;
                  replies due by 1/5/2022; Joint Pretrial Statement due by 12/15/2021; Pretrial Conference
                  set for 1/21/2022, at 11:00 AM in Courtroom 22A before Chief Judge Beryl A. Howell;
                  jury selection set for 2/7/2022, at 9:00 AM. (ztg) (Entered: 05/21/2021)
05/25/2021   29   TRANSCRIPT OF PROCEEDINGS, in case as to GERARDO
                  GONZALEZ−VALENCIA, before Chief Judge Beryl A. Howell, held on 5−21−2021.
                  Page Numbers: 1 − 17. Date of Issuance: 5/25/2021. Court Reporter: Elizabeth
                  Saint−Loth, Telephone number: 202−354−3242. Transcripts may be ordered by

                                                                                                                10
     Case 1:16-cr-00065-BAH Document 187 Filed 07/27/23 Page 11 of 39



                  submitting the Transcript Order Form

                  For the first 90 days after this filing date, the transcript may be viewed at the courthouse
                  at a public terminal or purchased fro m the court reporter referenced above. After 90
                  days, the transcript may be accessed via PACER. Other transcript formats, (multi−page,
                  condensed, CD or ASCII) may be purchased from the court reporter.

                  NOTICE RE REDACTION OF TRANSCRIPTS: The parties have twenty−one days
                  to file with the court and the court reporter any request to redact personal identifiers
                  from this transcript. If no such requests are filed, the transcript will be made available to
                  the public via PACER without redaction after 90 days. The policy, which includes the
                  five personal identifiers specifically covered, is located on our website at
                  www.dcd.uscourts.gov.

                  Redaction Request due 6/15/2021. Redacted Transcript Deadline set for 6/25/2021.
                  Release of Transcript Restriction set for 8/23/2021.(Saint−Loth, Elizabeth) (Entered:
                  05/25/2021)
10/04/2021   30   MOTION to Strike Improper Aliases and Related Evidence and Memorandum of Points
                  and Authorities in Support Thereof by GERARDO GONZALEZ−VALENCIA.
                  (Attachments: # 1 Proposed Order)(Best, Stephen) (Entered: 10/04/2021)
10/04/2021   31   MOTION for Bill of Particulars and Memorandum of Points and Authorities in Support
                  Thereof by GERARDO GONZALEZ−VALENCIA. (Attachments: # 1 Proposed
                  Order)(Best, Stephen) (Entered: 10/04/2021)
10/04/2021   32   MOTION for Release of Brady Materials /Motion for Timely Disclosure of Brady/Giglio
                  Materials and Early Disclosure of Jencks Material and Incorporated Memorandum of
                  Points and Authorities by GERARDO GONZALEZ−VALENCIA. (Attachments: # 1
                  Proposed Order)(Best, Stephen) (Entered: 10/04/2021)
10/04/2021   33   MOTION to Exclude Evidence and Mention of the 2009 Shark Incident and
                  Memorandum of Points and Authorities in Support Thereof by GERARDO
                  GONZALEZ−VALENCIA. (Attachments: # 1 Exhibits A − B, # 2 Proposed
                  Order)(Best, Stephen) (Entered: 10/04/2021)
10/04/2021   34   MOTION to Compel Disclosure of Information Regarding Witnesses, Confidential
                  Informants, and Cooperators and Memorandum of Points and Authorities in Support
                  Thereof by GERARDO GONZALEZ−VALENCIA. (Attachments: # 1 Proposed
                  Order)(Best, Stephen) (Entered: 10/04/2021)
10/04/2021   35   MOTION to Dismiss Case /Motion to Dismiss the Indictment on Statute of Limitations
                  Grounds or in the Alternative for a Bill of Particulars and Incorporated Memorandum
                  of Points and Authorities by GERARDO GONZALEZ−VALENCIA. (Attachments: # 1
                  Proposed Order)(Best, Stephen) (Entered: 10/04/2021)
10/04/2021   39   MOTION for Bill of Particulars by GERARDO GONZALEZ−VALENCIA. (See DE 35
                  to view document). (bb) (Entered: 10/06/2021)
10/05/2021   37   MOTION in Limine No. 1 and Incorporated Memorandum of Points and Authorities:
                  Preclude Mention of Money Laundering Charge in Uruguay by GERARDO
                  GONZALEZ−VALENCIA. (Attachments: # 1 Proposed Order)(Best, Stephen)
                  (Entered: 10/05/2021)
10/05/2021   38


                                                                                                                  11
     Case 1:16-cr-00065-BAH Document 187 Filed 07/27/23 Page 12 of 39



                  MOTION for Hearing Pursuant to CIPA Section 2 by USA as to GERARDO
                  GONZALEZ−VALENCIA. (Naseef, Kate) (Entered: 10/05/2021)
10/18/2021   40   Memorandum in Opposition by USA as to GERARDO GONZALEZ−VALENCIA re 33
                  MOTION to Exclude Evidence and Mention of the 2009 Shark Incident and
                  Memorandum of Points and Authorities in Support Thereof (Sahni, Kaitlin) (Entered:
                  10/18/2021)
10/18/2021   41   Memorandum in Opposition by USA as to GERARDO GONZALEZ−VALENCIA re 37
                  MOTION in Limine No. 1 and Incorporated Memorandum of Points and Authorities:
                  Preclude Mention of Money Laundering Charge in Uruguay (Sahni, Kaitlin) (Entered:
                  10/18/2021)
10/18/2021   42   Memorandum in Opposition by USA as to GERARDO GONZALEZ−VALENCIA re 34
                  MOTION to Compel Disclosure of Information Regarding Witnesses, Confidential
                  Informants, and Cooperators and Memorandum of Points and Authorities in Support
                  Thereof (Sahni, Kaitlin) (Entered: 10/18/2021)
10/18/2021   43   Memorandum in Opposition by USA as to GERARDO GONZALEZ−VALENCIA re 30
                  MOTION to Strike Improper Aliases and Related Evidence and Memorandum of Points
                  and Authorities in Support Thereof (Attachments: # 1 Exhibit 1)(Sahni, Kaitlin)
                  (Entered: 10/18/2021)
10/18/2021   44   Memorandum in Opposition by USA as to GERARDO GONZALEZ−VALENCIA re 31
                  MOTION for Bill of Particulars and Memorandum of Points and Authorities in Support
                  Thereof (Sahni, Kaitlin) (Entered: 10/18/2021)
10/18/2021   45   Memorandum in Opposition by USA as to GERARDO GONZALEZ−VALENCIA re 32
                  MOTION for Release of Brady Materials /Motion for Timely Disclosure of Brady/Giglio
                  Materials and Early Disclosure of Jencks Material and Incorporated Memorandum of
                  Points and Authorities (Sahni, Kaitlin) (Entered: 10/18/2021)
10/18/2021   46   Government's Memorandum in Opposition to 36 (Attachment 2) Defendant's Motion to
                  Dismiss the Indictment for Improper Duplicity by USA as to GERARDO
                  GONZALEZ−VALENCIA. (Sahni, Kaitlin) Modified text and link on 10/20/2021 (bb).
                  (Entered: 10/18/2021)
10/18/2021   47   Government's Memorandum in Opposition to 36 (Attachment 8) Defendant's Motion to
                  Dismiss by USA as to GERARDO GONZALEZ−VALENCIA. (Sahni, Kaitlin)
                  Modified text and link on 10/20/2021 (bb). (Entered: 10/18/2021)
10/18/2021   48   Government's Memorandum in Opposition to 36 (Attachment 5)Defendant's Motion to
                  Suppress Evidence by USA as to GERARDO GONZALEZ−VALENCIA. (Sahni,
                  Kaitlin) Modified text and link on 10/20/2021 (bb). (Entered: 10/18/2021)
10/25/2021   51   REPLY TO OPPOSITION to Motion by GERARDO GONZALEZ−VALENCIA re 46
                  MOTION in Opposition to Defendant's Motion to Dismiss the Indictment for Improper
                  Duplicity (Attachments: # 1 Exhibit A)(Best, Stephen) (Entered: 10/25/2021)
10/25/2021   52   REPLY TO OPPOSITION to Motion by GERARDO GONZALEZ−VALENCIA re 30
                  MOTION to Strike Improper Aliases and Related Evidence and Memorandum of Points
                  and Authorities in Support Thereof (Attachments: # 1 Exhibit A)(Best, Stephen)
                  (Entered: 10/25/2021)
10/25/2021   53   REPLY TO OPPOSITION to Motion by GERARDO GONZALEZ−VALENCIA re 48
                  MOTION in Opposition to Defendant's Motion to Suppress Evidence (Best, Stephen)


                                                                                                        12
     Case 1:16-cr-00065-BAH Document 187 Filed 07/27/23 Page 13 of 39



                  (Entered: 10/25/2021)
10/25/2021   54   REPLY TO OPPOSITION to Motion by GERARDO GONZALEZ−VALENCIA re 39
                  MOTION for Bill of Particulars (Best, Stephen) (Entered: 10/25/2021)
10/25/2021   55   REPLY TO OPPOSITION to Motion by GERARDO GONZALEZ−VALENCIA re 34
                  MOTION to Compel Disclosure of Information Regarding Witnesses, Confidential
                  Informants, and Cooperators and Memorandum of Points and Authorities in Support
                  Thereof (Best, Stephen) (Entered: 10/25/2021)
10/25/2021   56   REPLY TO OPPOSITION to Motion by GERARDO GONZALEZ−VALENCIA re 32
                  MOTION for Release of Brady Materials /Motion for Timely Disclosure of Brady/Giglio
                  Materials and Early Disclosure of Jencks Material and Incorporated Memorandum of
                  Points and Authorities (Best, Stephen) (Entered: 10/25/2021)
10/25/2021   57   REPLY TO OPPOSITION to Motion by GERARDO GONZALEZ−VALENCIA re 33
                  MOTION to Exclude Evidence and Mention of the 2009 Shark Incident and
                  Memorandum of Points and Authorities in Support Thereof (Attachments: # 1 Exhibit A,
                  # 2 Exhibit B)(Best, Stephen) (Entered: 10/25/2021)
10/28/2021   60   NOTICE OF ATTORNEY APPEARANCE Kirk Kenneth Handrich appearing for USA.
                  (Handrich, Kirk) (Entered: 10/28/2021)
11/05/2021        NOTICE OF RESCHEDULED HEARING as to GERARDO
                  GONZALEZ−VALENCIA. The parties shall take notice that the Motion Hearing
                  currently scheduled for 11/19/2021 at 11:00 AM is RESCHEDULED for 11/19/2021 at
                  10:00 AM in Courtroom 22A− In Person before Chief Judge Beryl A. Howell. (ztg)
                  (Entered: 11/05/2021)
11/08/2021   64   MOTION to Dismiss Case /Defendant Gerardo Gonzalez−Valencia's Motion to Dismiss
                  [Redacted] [previously filed under seal ECF No. 36−8] by GERARDO
                  GONZALEZ−VALENCIA. (Attachments: # 1 Exhibit A through F (Redacted)
                  [previously filed under seal as ECF No. 36−9])(Best, Stephen) (Entered: 11/08/2021)
11/08/2021   65   REDACTED DOCUMENT by GERARDO GONZALEZ−VALENCIA of Exhibit A to
                  Motion to Suppress Evidence (Redacted) [previously filed under seal as ECF No. 36−6]
                  (Best, Stephen) (Entered: 11/08/2021)
11/08/2021   66   REDACTED DOCUMENT by GERARDO GONZALEZ−VALENCIA of Exhibits A −
                  D to Defendant's Motion to Dismiss the Indictment for Improper Duplicity (Redacted)
                  [previously filed under seal as ECF No. 36−3] (Best, Stephen) (Entered: 11/08/2021)
11/08/2021   67   MOTION for Release from Custody /Defendant Gerardo Gonzalez−Valencia's Motion
                  for Temporary Release Pending Trial by GERARDO GONZALEZ−VALENCIA.
                  (Attachments: # 1 Text of Proposed Order)(Best, Stephen) (Entered: 11/08/2021)
11/09/2021        MINUTE ORDER (paperless) DIRECTING the government, by November 11 at 5 PM,
                  to address (1) how its position in response to defendant's 32 Motion for Timely
                  Disclosure of Brady/Giglio Materials and Early Disclosure of Jencks Material and 34
                  Motion to Compel Disclosure of Information Regarding Witnesses, Confidential
                  Informants, and Cooperators complies with Local Criminal Rule 5.1, which requires the
                  government, "as soon as reasonably possible after its existence is known," to "disclose to
                  the defense all information 'favorable to an accused' that is 'material either to guilt or to
                  punishment' under Brady v. Maryland, 373 U.S. 83, 87 (1963)," LCrR 5.1(a), even
                  though defendant did not invoke this rule; and (2) whether every potential government
                  witness "would face serious security risks if their cooperation and status as prospective

                                                                                                                  13
     Case 1:16-cr-00065-BAH Document 187 Filed 07/27/23 Page 14 of 39



                  trial witnesses were revealed" thirty, rather than fourteen, days before trial as requested
                  by defendant or if some requested disclosure may be made thirty days before trial. See
                  42 Gov't's Opp'n to Mot. to Compel Disclosure of Information Regarding Witnesses,
                  Confidential Informants, and Cooperators, at 4; and FURTHER DIRECTING that
                  defendant shall file, by November 15, 2021 at 2 PM, any response to the government's
                  submission in compliance with this order. Signed by Chief Judge Beryl A. Howell on
                  November 9, 2021. (lcbah2) (Entered: 11/09/2021)
11/09/2021        Set/Reset Deadlines as to GERARDO GONZALEZ−VALENCIA: Government's
                  response to Order of the Court due by 5:00 PM on 11/11/2021; Defendant's reply due by
                  2:00 PM on 11/15/2021. (ztg) (Entered: 11/09/2021)
11/10/2021   68   Unopposed MOTION Designate Classified Information Security Officers by USA as to
                  GERARDO GONZALEZ−VALENCIA. (Attachments: # 1 Text of Proposed
                  Order)(Naseef, Kate) (Entered: 11/10/2021)
11/10/2021        MINUTE ORDER (paperless), as to GERARDO GONZALEZ−VALENCIA,
                  GRANTING the government's 68 Unopposed Motion to Designate a Classified
                  Information Security Officer; DESIGNATING Daniella M. Medel, pursuant to the
                  Classified Information Procedures Act, 18 U.S.C. App. III, and Section 2 of the Security
                  Procedures established under Pub. L. 96−456, 94 Stat. 2025 by the Chief Justice of the
                  United States, as the Classified Information Security Officer to perform the duties and
                  responsibilities prescribed in the Security Procedures promulgated by the Chief Justice
                  of the United States; and FURTHER DESIGNATING Daniel O. Hartenstine, Matthew
                  W. Mullery, Carli V. Rodriguez−Feo, Harry J. Rucker, and Winfield S. Slade as
                  Alternate Classified Information Security Officers to serve in the event Daniella M.
                  Medel is unavailable. Signed by Chief Judge Beryl A. Howell on November 10, 2021.
                  (lcbah2) (Entered: 11/10/2021)
11/10/2021   69   SUPPLEMENT by GERARDO GONZALEZ−VALENCIA re 67 MOTION for Release
                  from Custody /Defendant Gerardo Gonzalez−Valencia's Motion for Temporary Release
                  Pending Trial /Exhibit A to Defendant Gerardo Gonzalez−Valencia's Motion for
                  Temporary Release Pending Trial (Best, Stephen) (Entered: 11/10/2021)
11/11/2021   70   RESPONSE by USA as to GERARDO GONZALEZ−VALENCIA re Order,,,,, of
                  November 9, 2021 (Sahni, Kaitlin) (Entered: 11/11/2021)
11/12/2021        MINUTE ORDER (paperless) DIRECTING, upon consideration of the government's 38
                  Motion for Pretrial Conference Pursuant to the Classified Information Procedures Act
                  ("CIPA"), the government to submit, by November 17, 2021 at 2 PM, a status report
                  apprising the Court of the status of its efforts to review materials it believes may require
                  litigation under CIPA. Signed by Chief Judge Beryl A. Howell on November 12, 2021.
                  (lcbah2) (Entered: 11/12/2021)
11/12/2021        Set/Reset Deadlines as to GERARDO GONZALEZ−VALENCIA: Government's status
                  report due by 2:00 PM on 11/17/2021. (ztg) (Entered: 11/12/2021)
11/12/2021   71   MOTION for Leave to Appear Pro Hac Vice David L. Rosenthal Filing fee $ 100,
                  receipt number ADCDC−8862579. Fee Status: Fee Paid. by GERARDO
                  GONZALEZ−VALENCIA. (Attachments: # 1 Application for Admission Pro Hac Vice,
                  # 2 Text of Proposed Order)(Best, Stephen) (Entered: 11/12/2021)
11/12/2021   72   MOTION to Consolidate Cases by USA as to GERARDO GONZALEZ−VALENCIA.
                  (Naseef, Kate) (Entered: 11/12/2021)



                                                                                                                 14
     Case 1:16-cr-00065-BAH Document 187 Filed 07/27/23 Page 15 of 39



11/12/2021        MINUTE ORDER as to GERARDO GONZALEZ−VALENCIA, DIRECTING the
                  defendants in both cases (16cr65 and 16cr192) to respond by 2:00 PM on 11/17/2021 to
                  the government's 72 MOTION to Consolidate Cases; government's reply shall be filed
                  by 4:00 PM on 11/18/2021. SO ORDERED. Signed by Chief Judge Beryl A. Howell on
                  11/12/2021. (ztg) (Entered: 11/12/2021)
11/15/2021   73   REDACTED DOCUMENT by USA as to GERARDO GONZALEZ−VALENCIA of
                  Government's Opposition to Defendant's Motion to Dismiss the Indictment on Statute of
                  Limitations Grounds or in the Alternative for a Bill of Particulars [Previously filed under
                  seal as ECF No. 49−3] (Sahni, Kaitlin) (Entered: 11/15/2021)
11/15/2021   74   REPLY by GERARDO GONZALEZ−VALENCIA re 70 Response to document,
                  Order,,,,, /Defendant Gerardo Gonzalez−Valencia's Reply to the Government's Reponse
                  to Minute Order (Attachments: # 1 Exhibit A)(Best, Stephen) (Entered: 11/15/2021)
11/16/2021   75   MOTION for Permission to Use Courtroom Technology at the November 19, 2021
                  Motion Hearing by GERARDO GONZALEZ−VALENCIA. (Attachments: # 1 Text of
                  Proposed Order)(Best, Stephen) (Entered: 11/16/2021)
11/16/2021   76   Government's Response to Minute Order of November 12 by USA as to GERARDO
                  GONZALEZ−VALENCIA. (Naseef, Kate) Modified text on 11/29/2021 (bb). (Entered:
                  11/16/2021)
11/16/2021        MINUTE ORDER (paperless) NOTIFYING the parties that the motions hearing
                  scheduled for Friday, November 19 at 10 AM, will instead be dedicated to addressing
                  the government's pending 72 Motion to Consolidate. Argument on the pending pre−trial
                  motions will be postponed while the Motion to Consolidate remains under advisement.
                  Signed by Chief Judge Beryl A. Howell on November 16, 2021. (lcbah2) (Entered:
                  11/16/2021)
11/17/2021   77   RESPONSE by GERARDO GONZALEZ−VALENCIA re 72 MOTION to Consolidate
                  Cases /Defendant Gerardo Gonzalez−Valencia's Response in Opposition to the
                  Government's Motion for Joinder of Defendants for Trial (Attachments: # 1 Exhibit A, #
                  2 Exhibit B, # 3 Exhibit C, # 4 Exhibit D, # 5 Exhibit E)(Best, Stephen) (Entered:
                  11/17/2021)
11/17/2021   78   Memorandum in Opposition by USA as to GERARDO GONZALEZ−VALENCIA re 67
                  MOTION for Release from Custody /Defendant Gerardo Gonzalez−Valencia's Motion
                  for Temporary Release Pending Trial (Attachments: # 1 Exhibit Exhibit A, # 2 Exhibit
                  Exhibit B, # 3 Exhibit Exhibit C, # 4 Exhibit Exhibit D)(Reynolds, Brett) (Entered:
                  11/17/2021)
11/17/2021        MINUTE ORDER (paperless) DENYING, as moot, defendant's 75 Motion for
                  Permission to Use Courtroom Technology, since the motions hearing scheduled for
                  Friday, November 19, 2021 will address only the government's 72 Motion to
                  Consolidate and a motions hearing on other pending pre−trial motions will be postponed
                  until resolution of the consolidation motion. See Minute Order (Nov. 16, 2021). Signed
                  by Chief Judge Beryl A. Howell on November 17, 2021. (lcbah2) (Entered: 11/17/2021)
11/18/2021   79   NOTICE of Supplemental Authority by GERARDO GONZALEZ−VALENCIA
                  (Attachments: # 1 Exhibit A, # 2 Exhibit B)(Best, Stephen) (Entered: 11/18/2021)
11/18/2021   80   REPLY in Support by USA as to GERARDO GONZALEZ−VALENCIA re 72
                  MOTION to Consolidate Cases (Reynolds, Brett) (Entered: 11/18/2021)
11/18/2021

                                                                                                                15
     Case 1:16-cr-00065-BAH Document 187 Filed 07/27/23 Page 16 of 39



                  MINUTE ORDER (paperless), as to GERARDO GONZALEZ−VALENCIA,
                  GRANTING defendant's 71 Motion for Admission Pro Hac Vice of Attorney David L.
                  Rosenthal. Mr. Rosenthal may enter an appearance pro hac vice for the purpose of
                  representing defendant in this action. Counsel should register for e−filing via PACER
                  and file a notice of appearance pursuant to LCrR 44.5(a). Click for Instructions.
                  Signed by Chie f Judge Beryl A. Howell on November 18, 2021. (lcbah2) (Entered:
                  11/18/2021)
11/18/2021   81   NOTICE of Supplemental Authority by GERARDO GONZALEZ−VALENCIA
                  (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C)(Best, Stephen) (Entered:
                  11/18/2021)
11/19/2021   82   NOTICE OF ATTORNEY APPEARANCE: David Leighton Rosenthal appearing for
                  GERARDO GONZALEZ−VALENCIA (Rosenthal, David) (Entered: 11/19/2021)
11/19/2021        MINUTE ORDER (paperless) GRANTING the Government's 72 Motion for Joinder of
                  Defendants for Trial, upon consideration of the Government's motion, the defendants'
                  memoranda in opposition, see 77 Def. Gerardo Gonzalez−Valencia's Resp. Opp'n Gov't's
                  Mot. Joinder; Def.'s Mot. Opp'n Joinder, Criminal Case No. 16−192, ECF No. 20, the 80
                  Government's Reply in Support of Motion for Joinder of Defendants for Trial, and the
                  arguments made by counsel at the Motion Hearing of November 19, 2021, for the
                  reasons detailed on the record; DIRECTING that Criminal Case Nos. 16−65 and 16−192
                  be consolidated for all purposes; FURTHER DIRECTING that all filings in these
                  consolidated cases should be made in Criminal Case No. 16−65; FURTHER
                  DIRECTING the parties in the consolidated cases jointly to submit, by November 29,
                  2021, a proposed schedule for further proceedings in this consolidated matter; and
                  NOTIFYING the parties that the pretrial conference currently scheduled for January 21,
                  2022, see Min. Order (May 21, 2021), will be converted into a status conference. Signed
                  by Chief Judge Beryl A. Howell on November 19, 2021. (lcbah3) (Entered: 11/19/2021)
11/19/2021        Minute Entry for proceedings held before Chief Judge Beryl A. Howell: Motion Hearing
                  as to GERARDO GONZALEZ−VALENCIA held on 11/19/2021 re 72 MOTION to
                  Consolidate Cases filed by USA. Bond Status of Defendant: Defendant
                  committed/commitment issued. Present: Defense Attorney: Stephen A. Best, Lilly A.
                  Sanchez, Tiffany B. Lietz, and David L. Rosenthal; US Attorney: Brett C. Reynolds,
                  Kaitlin Sahni, Kate M. Naseef, and Kirk K. Handrich; Interpreter: Teresa Salazar and
                  Teresa Roman (sworn). Court Reporter: Elizabeth Saint−Loth. (ztg) (Entered:
                  11/19/2021)
11/23/2021        Set/Reset Deadlines/Hearings as to GERARDO GONZALEZ−VALENCIA, JOSE
                  GONZALEZ−VALENCIA: Proposed schedule for further proceedings due by
                  11/29/2021; Status Conference scheduled for 1/21/2022, at 11:00 AM before Chief
                  Judge Beryl A. Howell. (ztg) (Entered: 11/23/2021)
11/23/2021        Terminate Hearings as to GERARDO GONZALEZ−VALENCIA, JOSE
                  GONZALEZ−VALENCIA: Pretrial Conference of 1/21/2022 converted to a Status
                  Hearing. (ztg) (Entered: 11/23/2021)
11/23/2021   83   TRANSCRIPT OF PROCEEDINGS, in case as to GERARDO
                  GONZALEZ−VALENCIA, JOSE GONZALEZ−VALENCIA, before Chief Judge Beryl
                  A. Howell, held on 11−19−2021. Page Numbers: 1 − 52. Date of Issuance: 11−23−2021.
                  Court Reporter: Elizabeth SaintLoth, Telephone number: 202−354−3242. Transcripts
                  may be ordered by submitting the Transcript Order Form



                                                                                                            16
     Case 1:16-cr-00065-BAH Document 187 Filed 07/27/23 Page 17 of 39



                  For the first 90 days after this filing date, the transcript may be viewed at the courthouse
                  at a public terminal or purchased from the court reporter referenced above. After 90
                  days, the transcript may be accessed via PACER. Other transcript formats, (multi−page,
                  condensed, CD or ASCII) may be purchased from the court reporter.

                  NOTICE RE REDACTION OF TRANSCRIPTS: The parties have twenty−one days
                  to file with the court and the court reporter any request to redact personal identifiers
                  from this transcript. If no such requests are filed, the transcript will be made available to
                  the public via PACER without redaction after 90 days. The policy, which includes the
                  five personal identifiers specifically covered, is located on our website at
                  www.dcd.uscourts.gov.

                  Redaction Request due 12/14/2021. Redacted Transcript Deadline set for 12/24/2021.
                  Release of Transcript Restriction set for 2/21/2022.(Saint−Loth, Elizabeth) (Entered:
                  11/23/2021)
12/06/2021   86   RESPONSE TO ORDER OF THE COURT by USA as to GERARDO
                  GONZALEZ−VALENCIA, JOSE GONZALEZ−VALENCIA re Order on Motion to
                  Continue,, Set/Reset Deadlines, regarding proposed trial schedule (Sahni, Kaitlin)
                  (Entered: 12/06/2021)
12/09/2021        MINUTE ORDER as to GERARDO GONZALEZ−VALENCIA and JOSE
                  GONZALEZ−VALENCIA, DIRECTING the parties to appear at a Status Conference
                  scheduled for January 7, 2022, at 10:00 AM via videoconference before Chief Judge
                  Beryl A. Howell; it is FURTHER ORDERED that the Status Conference currently
                  scheduled for January 21, 2022, is hereby VACATED. Signed by Chief Judge Beryl A.
                  Howell on 12/9/2021. (ztg) Modified on 1/5/2022 (ztg). (Entered: 12/09/2021)
01/06/2022        Terminate Hearings as to GERARDO GONZALEZ−VALENCIA, JOSE
                  GONZALEZ−VALENCIA: Hearing currently scheduled for January 7, 2022,
                  VACATED. (ztg) (Entered: 01/06/2022)
01/10/2022        NOTICE OF RESCHEDULED HEARING as to GERARDO
                  GONZALEZ−VALENCIA, JOSE GONZALEZ−VALENCIA. The parties shall take
                  notice that a Status Hearing is scheduled for January 11, 2022, at 12:45 PM via
                  videoconference before Chief Judge Beryl A. Howell. (ztg) (Entered: 01/10/2022)
01/11/2022        Minute Entry for proceedings held before Chief Judge Beryl A. Howell: Status Hearing
                  as to GERARDO GONZALEZ−VALENCIA and JOSE GONZALEZ−VALENCIA
                  held via videoconference on 1/11/2022; Defendant Gerardo Gonzalez−Valencia agreed
                  to participate via videoconference after consultation with counsel; Defendant Jose
                  Gonzalez−Valencia was not present due to unforeseen circumstances, he was
                  represented by counsel. Jury Trial scheduled for February 7, 2022, VACATED; a new
                  Trial Scheduling Order will be entered by the Court. Time excluded under the Speedy
                  Trial Act from 2/7/2022 until September 12, 2022, for all the reasons stated in open
                  court and in the best interests of justice and those interests outweigh the interests of the
                  public and the defendant in a speedy trial. Bond Status of Defendant: Defendant
                  committed. Present via videoconference: Defense Attorneys: #1 Stephen A. Best, Lilly
                  A. Sanchez, Tiffany B. Lietz (telephonically), David Rosenthal; #2 Alfred Guillaume
                  III; US Attorneys: Kaitlin J. Sahni, Kate M. Naseef, and Kirk Handrich; Interpreter:
                  Teresa Salazar. Court Reporter: Elizabeth Saint−Loth. (ztg) (Entered: 01/11/2022)
01/11/2022        MINUTE ORDER (paperless) as to GERARDO GONZALEZ−VALENCIA and JOSE
                  GONZALEZ−VALENCIA, AMENDING, upon consideration of the parties' 86

                                                                                                                  17
     Case 1:16-cr-00065-BAH Document 187 Filed 07/27/23 Page 18 of 39



               Response to Order of the Court and representations at the status conference in this
               matter held on January 11, 2022, the previously issued Scheduling Order, see Min.
               Order (May 21, 2021), as follows:

               (1) by March 31, 2022, the government shall file any filings as to matters requiring
               litigation under Section 4 of the Classified Information Procedures Act;

               (2) by June 24, 2022, the parties shall file any pretrial motions, including motions in
               limine; by July 8, 2022, any oppositions to pretrial motions shall be filed; by July 15,
               2022, any replies to oppositions to pretrial motions shall be filed;

               (3) by July 15, 2022, the parties shall file their Joint Pretrial Statement. See 2 Standing
               Order ¶ 8;

               (4) on Tuesday, August 9, 2022 at 9:30 AM, the parties are directed to appear for a
               pretrial conference in Courtroom 22A before Chief Judge Beryl A. Howell;

               (5) on Monday, September 12, 2022 at 9:00 AM, the parties are directed to appear for
               jury selection in Courtroom 22A before Chief Judge Beryl A. Howell; and

               FURTHER GRANTING, for the reasons stated in open court during the January 11,
               2022 status conference and without the government's opposition, defendant Gerardo
               Gonzalez−Valencia's request for expedited briefing of "two" dispositive pretrial motions
               reasserting the arguments defendant presented before consolidation in his 63 64 Motion
               to Dismiss for Insufficient Evidence and 77 Response in Opposition to the Government's
               Motion for Joinder of Defendants for Trial; if any such motions are filed before the June
               24, 2022 deadline for all other pretrial motions, any oppositions shall be filed within 14
               days; and any replies shall be filed within 7 days of the filing of any oppositions. Signed
               by Chief Judge Beryl A. Howell on January 11, 2022. (lcbah2) (Entered: 01/11/2022)
01/12/2022     Set/Reset Deadlines/Hearings as to GERARDO GONZALEZ−VALENCIA, JOSE
               GONZALEZ−VALENCIA: Government's filings as to matters requiring litigation under
               Section 4 of the Classified Information Procedures Act due by 3/31/2022; pretrial
               motions, including motions in limine due by 6/24/2022; oppositions due by 7/8/2022;
               replies due by 7/15/2022; Pretrial Statement due by 7/15/2022; Pretrial Conference set
               for 8/9/2022 at 9:30 AM in Courtroom 22A− In Person before Chief Judge Beryl A.
               Howell; Jury Trial set for 9/12/2022 at 9:00 AM in Courtroom 22A− In Person before
               Chief Judge Beryl A. Howell. (ztg) (Entered: 01/12/2022)
01/12/2022     MINUTE ORDER (paperless), as to GERARDO GONZALEZ−VALENCIA,
               DENYING WITHOUT PREJUDICE, for the reasons discussed during the January 11,
               2022 status conference and in light of the amended scheduling order now governing
               proceedings in this consolidated matter, see Minute Order (January 11, 2022), the
               following pending motions:

               (1) defendant's 30 Motion to Strike Improper Aliases and Related Evidence;

               (2) defendant's 31 Motion for Bill of Particulars;

               (3) defendant's 32 Motion for Release of Brady Materials;

               (4) defendant's 33 Motion to Exclude Evidence and Mention of the 2009 Shark Incident;


                                                                                                             18
     Case 1:16-cr-00065-BAH Document 187 Filed 07/27/23 Page 19 of 39




                  (5) defendant's 34 Motion to Compel Disclosure Regarding Witnesses, Confidential
                  Informants, and Cooperators;

                  (6) defendant's 35 Motion to Dismiss the Indictment on Statute of Limitations Grounds;

                  (7) defendant's 37 Motion In Limine No. 1;

                  (8) government's 38 Motion for Hearing Pursuant to CIPA Section 2;

                  (9) defendant's 61 Motion to Dismiss the Indictment for Improper Duplicity;

                  (10) defendant's 62 Motion to Suppress Evidence;

                  (11) defendant's 63 64 Motion to Dismiss Case;

                  (12) defendant's 67 Motion for Temporary Release Pending Trial. Signed by Chief
                  Judge Beryl A. Howell on January 12, 2022. (lcbah2) (Entered: 01/12/2022)
01/12/2022   87   MOTION to Withdraw as Attorney by David L. Rosenthal. by GERARDO
                  GONZALEZ−VALENCIA. (Attachments: # 1 Text of Proposed Order)(Rosenthal,
                  David) (Entered: 01/12/2022)
01/12/2022        MINUTE ORDER granting 87 Motion to Withdraw as Co−Counsel for Gerardo
                  Gonzalez−Valencia. Upon consideration of the motion to withdraw, it is hereby
                  ORDERED that Attorney David L. Rosenthal is permitted to withdraw as counsel for
                  Defendant Gerardo Gonzalez−Valencia. SO ORDERED. Signed by Chief Judge Beryl
                  A. Howell on 1/12/2022. (ztg) (Entered: 01/12/2022)
01/28/2022   88   TRANSCRIPT OF PROCEEDINGS, in case as to GERARDO
                  GONZALEZ−VALENCIA, JOSE GONZALEZ−VALENCIA, before Chief Judge Beryl
                  A. Howell, held on 1−11−2022; Page Numbers: 1 − 21. Date of Issuance: 1−28−2022.
                  Court Reporter: Elizabeth SaintLoth, Telephone number: 202−354−3242. Transcripts
                  may be ordered by submitting the Transcript Order Form

                  For the first 90 days after this filing date, the transcript may be viewed at the courthouse
                  at a public t erminal or purchased from the court reporter referenced above. After 90
                  days, the transcript may be accessed via PACER. Other transcript formats, (multi−page,
                  condensed, CD or ASCII) may be purchased from the court reporter.

                  NOTICE RE REDACTION OF TRANSCRIPTS: The parties have twenty−one days
                  to file with the court and the court reporter any request to redact personal identifiers
                  from this transcript. If no such requests are filed, the transcript will be made available to
                  the public via PACER without redaction after 90 days. The policy, which includes the
                  five personal identifiers specifically covered, is located on our website at
                  www.dcd.uscourts.gov.

                  Redaction Request due 2/18/2022. Redacted Transcript Deadline set for 2/28/2022.
                  Release of Transcript Restriction set for 4/28/2022.(Saint−Loth, Elizabeth) (Entered:
                  01/28/2022)
03/31/2022   91   MOTION to Delete and Substitute Classified Information in Discovery Pursuant to the
                  Classified Information Procedures Act filed by USA as to GERARDO


                                                                                                                  19
     Case 1:16-cr-00065-BAH Document 187 Filed 07/27/23 Page 20 of 39



                  GONZALEZ−VALENCIA, JOSE GONZALEZ−VALENCIA. (CLASSIFIED
                  INFORMATION) (This document is SEALED and only available to authorized
                  persons.) (zhsj) Modified to Remove Under Seal Per Request of Counsel on 4/1/2022
                  (zhsj). (Entered: 04/01/2022)
04/06/2022   92   Consent MOTION for Leave to File Excess Pages by GERARDO
                  GONZALEZ−VALENCIA. (Attachments: # 1 Text of Proposed Order)(Best, Stephen)
                  Modified Text on 4/7/2022 to Remove Defendant #2. (zhsj). (Entered: 04/06/2022)
04/06/2022        MINUTE ORDER granting 92 Defendant Gerardo Gonzalez−Valencia's Consent
                  Motion for Leave to Exceed Page Limitation as to GERARDO
                  GONZALEZ−VALENCIA (1). Signed by Chief Judge Beryl A. Howell on 4/6/2022.
                  (ztg) (Entered: 04/06/2022)
04/11/2022   93   ORDER, as to GERARDO GONZALEZ−VALENCIA and JOSE
                  GONZALEZ−VALENCIA, granting the government's 91 MOTION to Delete and
                  Substitute Classified Information in Discovery Pursuant to the Classified Information
                  Procedures Act. Signed by Chief Judge Beryl A. Howell on April 11, 2022. (lcbah2)
                  (Entered: 04/11/2022)
04/28/2022   97   MOTION to Dismiss Case /Defendant Gerardo Gonzalez−Valencia's Motion to Dismiss
                  or, in the alternative, for In Camera Review, and Incorporated Memorandum of Points
                  and Authorities (Redacted) [previously filed under seal as ECF No. 94−2] by
                  GERARDO GONZALEZ−VALENCIA. (Attachments: # 1 Exhibit C [previously filed
                  under seal as ECF No. 94−5], # 2 Exhibit G [previously filed under seal as ECF No.
                  94−9], # 3 Exhibit H [previously filed under seal as ECF No. 94−10], # 4 Exhibit I
                  [previously filed under seal as ECF No. 94−11], # 5 Exhibit L [previously filed under
                  seal as ECF No. 94−14], # 6 Exhibit M [previously filed under seal as ECF No. 94−15],
                  # 7 Exhibit P [previously filed under seal as ECF No. 94−18], # 8 Exhibit Q [previously
                  filed under seal as ECF No. 94−19], # 9 Exhibit R [previously filed under seal as ECF
                  No. 94−20], # 10 Exhibit S [previously filed under seal as ECF No. 94−21], # 11 Exhibit
                  T [previously filed under seal as ECF No. 94−22], # 12 Exhibit U [previously filed
                  under seal as ECF No. 94−23])(Best, Stephen) (Entered: 04/28/2022)
04/28/2022   98   MOTION for In Camera Review by GERARDO GONZALEZ−VALENCIA. (See
                  Docket Entry 97 to View Document). (zhsj) (Entered: 04/29/2022)
04/29/2022   99   Memorandum in Opposition by USA as to GERARDO GONZALEZ−VALENCIA,
                  JOSE GONZALEZ−VALENCIA re 97 MOTION to Dismiss Case /Defendant Gerardo
                  Gonzalez−Valencia's Motion to Dismiss or, in the alternative, for In Camera Review,
                  and Incorporated Memorandum of Points and Authorities (Redacted) [previously filed
                  under seal as ECF No. 94−2] (Naseef, Kate) (Entered: 04/29/2022)
05/05/2022 100    MOTION for Leave to File Excess Pages /Defendant Gerardo Gonzalez−Valencia's
                  Motion for Leave to Exceed Page Limitation by GERARDO
                  GONZALEZ−VALENCIA. (Attachments: # 1 Proposed Order)(Best, Stephen)
                  (Entered: 05/05/2022)
05/05/2022        MINUTE ORDER granting 100 Defendant Gerardo Gonzalez−Valencia's Motion for
                  Leave to Exceed Page Limitation as to GERARDO GONZALEZ−VALENCIA (1). It is
                  hereby ORDERED that Defendant Gerardo Gonzalez−Valencia shall file his Reply in
                  Further Support of His Motion to Dismiss or, in the Alternative, for In Camera Review,
                  and Incorporated Memorandum of Points and Authorities in excess of the twenty−five
                  page limitation but not to exceed thirty−five pages. Signed by Chief Judge Beryl A.
                  Howell on 5/5/2022. (ztg) (Entered: 05/05/2022)

                                                                                                            20
     Case 1:16-cr-00065-BAH Document 187 Filed 07/27/23 Page 21 of 39



05/12/2022 103   REPLY in Support by GERARDO GONZALEZ−VALENCIA re 97 MOTION to
                 Dismiss Case /Defendant Gerardo Gonzalez−Valencia's Motion to Dismiss or, in the
                 alternative, for In Camera Review, and Incorporated Memorandum of Points and
                 Authorities (Redacted) [previously filed under seal as ECF No. 94−2] /Defendant
                 Gerardo Gonzalez−Valencia's Reply in Further Support of His Motion to Dismiss or, in
                 the alternative, for In Camera Review, and Incorporated Memorandum of Points and
                 Authorities [previously filed under seal as ECF No. 101−2] (Attachments: # 1 Exhibit V
                 [previously filed under seal as ECF No. 101−3], # 2 Exhibit W [previously filed under
                 seal as ECF No. 101−4], # 3 Exhibit X [previously filed under seal as ECF No. 101−5],
                 # 4 Exhibit Y [previously filed under seal as ECF No. 101−6])(Best, Stephen) (Entered:
                 05/12/2022)
05/27/2022       MINUTE ORDER (paperless) GRANTING defendant Jose Gonzalez−Valencia's 104
                 Unopposed Motion to Continue Trial, VACATING the Scheduling Order entered on
                 January 11, 2022, and ENTERING the following Scheduling Order:

                 (1) on Wednesday, January 11, 2023, at 9:30 AM, the parties are directed to appear for a
                 pretrial conference in Courtroom 22A before Chief Judge Beryl A. Howell; and

                 (2) on Monday, January 23, 2023, at 9:30 AM, the parties are directed to appear for jury
                 selection in Courtroom 22A before Chief Judge Beryl A. Howell.

                 The parties are DIRECTED to file, by June 6, 2022, a joint status report proposing a
                 schedule for any pre−trial motions or other proceedings and it is FURTHER ORDERED
                 that time under the Speedy Trial Act shall be excluded from September 12, 2022 through
                 January 23, 2022 in the best interests of justice and finding those interests outweigh the
                 interests of the public and defendants in a speedy trial. Signed by Chief Judge Beryl A.
                 Howell on May 27, 2022. (lcbah2) Modified date on 6/6/2022 (ztg). (Entered:
                 05/27/2022)
05/27/2022       Set/Reset Deadlines/Hearings as to GERARDO GONZALEZ−VALENCIA, JOSE
                 GONZALEZ−VALENCIA: Joint Status Report due by 6/6/2022; Pretrial Conference
                 scheduled for 1/11/2023, at 9:30 AM in Courtroom 22A− In Person before Chief Judge
                 Beryl A. Howell; Jury Selection/Jury Trial scheduled for 1/23/2023, at 9:30 AM in
                 Courtroom 22A− In Person before Chief Judge Beryl A. Howell. (ztg) (Entered:
                 05/27/2022)
06/06/2022       MINUTE ORDER (paperless) as to GERARDO GONZALEZ−VALENCIA and JOSE
                 GONZALEZ−VALENCIA, AMENDING, upon consideration of the parties' 105 Notice
                 of Joint Proposed Pretrial Schedule, the SCHEDULING ORDER previously entered on
                 May 27, 2022, as follows:

                 (1) by November 16, 2022, the parties shall file any pretrial motions, including motions
                 in limine; by November 30, 2022, any oppositions to pretrial motions shall be filed; by
                 December 7, 2022, any replies to oppositions to pretrial motions shall be filed;

                 (2) by December 7, 2022, the parties shall file their Joint Pretrial Statement. See 2
                 Standing Order ¶ 8;

                 (4) on Wednesday, January 11, 2023, at 9:30 AM, the parties are directed to appear for a
                 pretrial conference in Courtroom 22A before Chief Judge Beryl A. Howell; and

                 (5) on Monday, January 23, 2023, at 9:00 AM, the parties are directed to appear for jury

                                                                                                              21
     Case 1:16-cr-00065-BAH Document 187 Filed 07/27/23 Page 22 of 39



                 selection in Courtroom 22A before Chief Judge Beryl A. Howell.

                 Signed by Chief Judge Beryl A. Howell on June 6, 2022. (lcbah2) (Entered: 06/06/2022)
06/07/2022       Set/Reset Deadlines/Hearings as to GERARDO GONZALEZ−VALENCIA, JOSE
                 GONZALEZ−VALENCIA: Pretrial motions, including motions in limine, due by
                 11/16/2022; oppositions due by 11/30/2022; replies due by 12/7/2022; Pretrial Statement
                 due by 12/7/2022; Pretrial Conference scheduled for 1/11/2023, at 9:30 AM in
                 Courtroom 22A− In Person before Chief Judge Beryl A. Howell; Jury Selection/Jury
                 Trial scheduled for 1/23/2023, at 9:00 AM in Courtroom 22A− In Person before Chief
                 Judge Beryl A. Howell. (ztg) (Entered: 06/07/2022)
06/07/2022 106   REQUEST For Oral Hearing On His Motion To Dismiss Or, In The Alternative, For In
                 Camera Review) by GERARDO GONZALEZ−VALENCIA. (Attachments: # 1 Text of
                 Proposed Order)(Best, Stephen) Modified Text on 6/13/2022 (zhsj). (Entered:
                 06/07/2022)
06/07/2022 107   MOTION for In Camera Review by GERARDO GONZALEZ−VALENCIA. (See
                 Docket Entry 106 to View Document) (zhsj) (Entered: 06/08/2022)
07/05/2022 108   MEMORANDUM AND ORDER, as to GERARDO GONZALEZ−VALENCIA,
                 DENYING the defendant's 95 Motion to Dismiss the Indictment and DENYING AS
                 MOOT defendant's 106 Request for Oral Hearing. See Memorandum and Order for
                 further details. Signed by Chief Judge Beryl A. Howell on July 5, 2022. (lcbah2)
                 (Entered: 07/05/2022)
07/15/2022       NOTICE OF RESCHEDULED HEARING as to GERARDO
                 GONZALEZ−VALENCIA, JOSE GONZALEZ−VALENCIA. The parties shall take
                 notice that the Pretrial Conference currently scheduled for January 11, 2023, is
                 RESCHEDULED for January 13, 2023, at 9:30 AM in Courtroom 22A− In Person
                 before Chief Judge Beryl A. Howell. (ztg) (Entered: 07/15/2022)
07/19/2022 109   MOTION for Order Directing The Alexandria Sheriffs Office and The Alexandria
                 Detention Center To Provide Defendant Gerardo Gonzalez− Valencia Weekly Video
                 Access To His Counsel by GERARDO GONZALEZ−VALENCIA. (Attachments: # 1
                 Exhibit A, # 2 Text of Proposed Order)(Best, Stephen) (Entered: 07/19/2022)
07/19/2022 110   NOTICE OF APPEAL (Interlocutory) by GERARDO GONZALEZ−VALENCIA re
                 108 Order,, Memorandum Opinion,. Filing fee $ 505, receipt number
                 ADCDC−9383202. Fee Status: Fee Paid. Parties have been notified. (Best, Stephen)
                 (Entered: 07/19/2022)
07/19/2022 111   Emergency MOTION to Stay Proceedings and Incorporated Memorandum of Points
                 and Authorities by GERARDO GONZALEZ−VALENCIA. (Attachments: # 1 Text of
                 Proposed Order)(Best, Stephen) (Entered: 07/19/2022)
07/20/2022 112   NOTICE OF ATTORNEY APPEARANCE: Rachel O. Wolkinson appearing for
                 GERARDO GONZALEZ−VALENCIA (Wolkinson, Rachel) (Entered: 07/20/2022)
07/20/2022 113   Transmission of the Notice of Appeal, Order Appealed, and Docket Sheet to US Court
                 of Appeals. The Court of Appeals fee was paid as to GERARDO
                 GONZALEZ−VALENCIA re 110 Notice of Appeal−Interlocutory. (zhsj) (Entered:
                 07/20/2022)
07/20/2022       MINUTE ORDER (paperless), as to GERARDO GONZALEZ−VALENCIA,
                 DIRECTING the government to file, by July 29, 2022, any opposition to defendant's 109

                                                                                                           22
     Case 1:16-cr-00065-BAH Document 187 Filed 07/27/23 Page 23 of 39



                 Motion for Order Directing Weekly Video Access to Counsel and 111 Emergency
                 Motion to Stay Proceedings. Defendant shall file any reply in further support of these
                 motions by August 4, 2022. Signed by Chief Judge Beryl A. Howell on July 20, 2022.
                 (lcbah2) (Entered: 07/20/2022)
07/20/2022       Set/Reset Deadlines as to GERARDO GONZALEZ−VALENCIA: Government's
                 opposition, if any, to 109 Motion for Order Directing Weekly Video Access to Counsel
                 and 111 Emergency Motion to Stay Proceedings due by 7/29/2022; Defendant's reply, if
                 any, due by 8/4/2022. (ztg) (Entered: 07/20/2022)
07/22/2022       USCA Case Number as to GERARDO GONZALEZ−VALENCIA 22−3048 for 110
                 Notice of Appeal − Interlocutory filed by GERARDO GONZALEZ−VALENCIA. (zhsj)
                 (Entered: 07/26/2022)
07/29/2022 118   Memorandum in Opposition by USA as to GERARDO GONZALEZ−VALENCIA re
                 111 Emergency MOTION to Stay Proceedings and Incorporated Memorandum of
                 Points and Authorities (Sahni, Kaitlin) (Entered: 07/29/2022)
08/04/2022 119   REPLY TO OPPOSITION to Motion by GERARDO GONZALEZ−VALENCIA re 111
                 Emergency MOTION to Stay Proceedings and Incorporated Memorandum of Points
                 and Authorities /Defendant Gerardo Gonzalez−Valencias Reply in Further Support of
                 his Emergency Motion to Stay Proceedings and Incorporated Memorandum of Points
                 and Authorities (Best, Stephen) (Entered: 08/04/2022)
08/24/2022       MINUTE ORDER (paperless) DENYING defendant GERARDO
                 GONZALEZ−VALENCIA's 109 Motion for Order Directing the Alexandria Sheriff's
                 Office and the Alexandria Detention Center to Provide Defendant Gerardo
                 Gonzalez−Valencia Weekly Video Access to His Counsel. Per Alexandria Detention
                 Center policy, defendant may have an interpreter present at any in−person
                 attorney−client meetings and his legal team may call the Detention Center's
                 attorney−client phone line at (703) 746−5050 to speak with defendant. See Def. Gerardo
                 Gonzalez−Valencia's Mot. Ex. A at 3−4 (Alexandria Sheriff's Office Information for
                 Attorneys). Signed by Chief Judge Beryl A. Howell on August 24, 2022. (lcbah2)
                 (Entered: 08/24/2022)
09/01/2022 120   MEMORANDUM OPINION AND ORDER, as to GERARDO
                 GONZALEZ−VALENCIA, DENYING defendant's 111 Emergency Motion to Stay
                 Proceedings. See Memorandum Opinion and Order for further details. Signed by Chief
                 Judge Beryl A. Howell on September 1, 2022. (lcbah2) (Entered: 09/01/2022)
11/08/2022 126   NOTICE OF WITHDRAWAL OF APPEARANCE by USA as to GERARDO
                 GONZALEZ−VALENCIA, JOSE GONZALEZ−VALENCIA (Naseef, Kate) (Entered:
                 11/08/2022)
11/08/2022 127   Joint MOTION to Continue Motions Deadline by USA as to GERARDO
                 GONZALEZ−VALENCIA. (Sahni, Kaitlin) (Entered: 11/08/2022)
11/09/2022       MINUTE ORDER as to GERARDO GONZALEZ−VALENCIA (1), GRANTING 127
                 Joint Motion to Continue Motions Deadline. Upon consideration of the joint motion, it is
                 hereby ORDERED that the deadline to file pretrial motions, including motions in limine,
                 shall be EXTENDED to November 23, 2022. Signed by Chief Judge Beryl A. Howell on
                 11/9/2022. (ztg) (Entered: 11/09/2022)
11/21/2022 133   Joint MOTION to Continue Motions Deadline by USA as to GERARDO
                 GONZALEZ−VALENCIA. (Attachments: # 1 Text of Proposed Order)(Sahni, Kaitlin)


                                                                                                            23
     Case 1:16-cr-00065-BAH Document 187 Filed 07/27/23 Page 24 of 39



                 (Entered: 11/21/2022)
11/21/2022       MINUTE ORDER as to GERARDO GONZALEZ−VALENCIA (1), GRANTING
                 Second Joint Motion to Continue Motions Deadline. Upon consideration of the joint
                 motion, it is hereby ORDERED that the deadlines to file pretrial motions, including
                 motions in limine, shall be EXTENDED as follows: pretrial motions, including motions
                 in limine, shall be filed by December 9, 2022; oppositions shall be filed by December
                 16, 2022, and replies shall be filed on or before December 23, 2022; it is FURTHER
                 ORDERED that the dates for the Pretrial Conference and Trial shall remain the same as
                 set out in the Scheduling Order entered on June 6, 2022. It is SO ORDERED. Signed by
                 Chief Judge Beryl A. Howell on 11/21/2022. (ztg) (Entered: 11/21/2022)
12/05/2022       NOTICE OF HEARING as to GERARDO GONZALEZ−VALENCIA. The parties shall
                 take notice that a Plea Hearing is scheduled for 12/22/2022, at 9:00 AM in Courtroom
                 22A− In Person before Chief Judge Beryl A. Howell. (ztg) Modified type of hearing on
                 12/12/2022 (ztg). (Entered: 12/05/2022)
12/16/2022 138   NOTICE of Filing Joint Submission Regarding Sentencing Guidelines by USA as to
                 GERARDO GONZALEZ−VALENCIA (Sahni, Kaitlin) (Entered: 12/16/2022)
12/16/2022 139   STATEMENT OF FACTS in Support of Plea Agreement by GERARDO
                 GONZALEZ−VALENCIA (Best, Stephen) (Entered: 12/16/2022)
12/21/2022       Set/Reset Hearings as to GERARDO GONZALEZ−VALENCIA: Plea Hearing
                 RESCHEDULED for 12/22/2022, at 1:30 PM in Courtroom 22A− In Person before
                 Chief Judge Beryl A. Howell. (ztg) (Entered: 12/21/2022)
12/22/2022       Minute Entry for proceedings held before Chief Judge Beryl A. Howell: Plea Hearing as
                 to GERARDO GONZALEZ−VALENCIA held on 12/22/2022. Defendant sworn, plea
                 of guilty entered by GERARDO GONZALEZ−VALENCIA to Count 1 of the
                 Indictment; case referred to the Probation Officer for presentence investigation;
                 Sentencing Hearing scheduled for 4/6/2023, at 9:30 AM in Courtroom 22A− In Person
                 before Chief Judge Beryl A. Howell; oral motion by counsel for the government to
                 dismiss the methamphetamine portion of the Count on Count 1, granted; Scheduling
                 Order forthcoming. The trial motions schedule and trial in this case are vacated. Bond
                 Status of Defendant: Defendant committed/commitment issued. Present: Defense
                 Attorney: Stephen A. Best, Rachel O. Wolkinson, and Geoffrey Coll; US Attorney:
                 Kaitlin J. Sahni and Kirk K. Handrich; Interpreter: Teresa Salazar. Court Reporter:
                 Elizabeth Saint−Loth. (ztg) Modified to add trial vacatur on 12/27/2022 (ztg). (Entered:
                 12/22/2022)
12/22/2022       MINUTE ORDER (paperless), as to GERARDO GONZALEZ−VALENCIA, ISSUING
                 the following SCHEDULING ORDER for the sentencing hearing, scheduled for April 6,
                 2023:

                 (1) By March 6, 2023, the government shall produce to defendants any evidence relevant
                 to issues raised at sentencing; and

                 (2) By March 23, 2023, the parties shall file with the Court a list of any witness
                 anticipated to testify at sentencing, along with a summary of each witness's prospective
                 testimony.

                 Signed by Chief Judge Beryl A. Howell on December 22, 2022. (lcbah2) (Entered:
                 12/22/2022)


                                                                                                            24
     Case 1:16-cr-00065-BAH Document 187 Filed 07/27/23 Page 25 of 39



12/22/2022       Set/Reset Deadlines as to GERARDO GONZALEZ−VALENCIA: Government's
                 response to Order of the Court due by 3/6/2023; parties' response to Order of the Court
                 due by 3/23/2023. (ztg) (Entered: 12/22/2022)
12/22/2022       Terminate Deadlines and Hearings as to GERARDO GONZALEZ−VALENCIA, JOSE
                 GONZALEZ−VALENCIA: Trial motions, pretrial conference, jury selection/trial,
                 VACATED. (ztg) (Entered: 12/27/2022)
02/15/2023 144   TRANSCRIPT OF PROCEEDINGS, in case as to GERARDO
                 GONZALEZ−VALENCIA, before Chief Judge Beryl A. Howell, held on 12−22−2022.
                 Page Numbers: 1 − 27. Date of Issuance: 2−15−2023. Court Reporter: Elizabeth
                 SaintLoth, Telephone number: 202−354−3242. Transcripts may be ordered by
                 submitting the Transcript Order Form

                 For the first 90 days after this filing date, the transcript may be viewed at the courthouse
                 at a public terminal or purchased from the court reporter referenced above. After 90
                 days, the transcript may be accessed via PACER. Other transcript formats, (multi−page,
                 condensed, CD or ASCII) may be purchased from the court reporter.

                 NOTICE RE REDACTION OF TRANSCRIPTS: The parties have twenty−one days
                 to file with the court and the court reporter any request to redact personal identifiers
                 from this transcript. If no such requests are filed, the transcript will be made available to
                 the public via PACER without redaction after 90 days. The policy, which includes the
                 five personal identifiers specifically covered, is located on our website at
                 www.dcd.uscourts.gov.

                 Redaction Request due 3/8/2023. Redacted Transcript Deadline set for 3/18/2023.
                 Release of Transcript Restriction set for 5/16/2023.(Saint−Loth, Elizabeth) (Entered:
                 02/15/2023)
02/15/2023 146   RESPONSE by GERARDO GONZALEZ−VALENCIA re 143 Draft Presentence
                 Investigation Report (Best, Stephen) (Entered: 02/15/2023)
03/14/2023 151   SUPPLEMENTAL Motion to Delete and Substitute Classified Information in Discovery
                 Pursuant to the Classified Information Procedures Act by USA as to GERARDO
                 GONZALEZ−VALENCIA. (CLASSIFIED INFORMATION) (zhsj) (Entered:
                 03/14/2023)
03/20/2023 152   UNCLASSIFIED ORDER as to GERARDO GONZALEZ−VALENCIA, GRANTING
                 the government's 151 Supplemental Motion to Delete and Substitute Classified
                 Information in Discovery Pursuant to the Classified Information Procedures Act. See
                 Order for further details. Signed by Judge Beryl A. Howell on March 20, 2023. (lcbah2)
                 Modified to add defendant's name on 3/20/2023 (ztg). (Entered: 03/20/2023)
03/23/2023 153   SENTENCING MEMORANDUM by USA as to GERARDO
                 GONZALEZ−VALENCIA (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3 Exhibit
                 3)(Sahni, Kaitlin) (Entered: 03/23/2023)
03/23/2023 157   MOTION for Forfeiture of Property by USA as to GERARDO
                 GONZALEZ−VALENCIA. (Attachments: # 1 Text of Proposed Order)(Naseef, Kate)
                 (Entered: 03/23/2023)
03/29/2023       NOTICE OF RESCHEDULED HEARING as to GERARDO
                 GONZALEZ−VALENCIA (1). The parties shall take notice that the Sentencing Hearing
                 currently scheduled for April 6, 2023, is RESCHEDULED for May 2 and May 3, 2023,

                                                                                                                 25
     Case 1:16-cr-00065-BAH Document 187 Filed 07/27/23 Page 26 of 39



                 at 9:30 AM in COURTROOM 26A, Fourth Floor − In Person before Judge Beryl A.
                 Howell. (ztg) (Entered: 03/29/2023)
04/06/2023 158   Memorandum in Opposition by GERARDO GONZALEZ−VALENCIA re 157 Motion
                 for Forfeiture of Property /Gerardo Gonzalez−Valencia's Opposition to Motion for
                 Entry of Order of Forfeiture (Best, Stephen) (Entered: 04/06/2023)
04/06/2023 159   SENTENCING MEMORANDUM by GERARDO GONZALEZ−VALENCIA
                 (Attachments: # 1 Exhibit 1, # 2 Exhibit 2 [Redacted], # 3 Exhibit 3 [Redacted], # 4
                 Exhibit 4 [Redacted], # 5 Exhibit 5 [Redacted], # 6 Exhibit 6 [Redacted], # 7 Exhibit 7
                 [Redacted], # 8 Exhibit 8, # 9 Exhibit 9, # 10 Exhibit 10 [Redacted], # 11 Exhibit 11
                 [Redacted], # 12 Exhibit 12 [Redacted], # 13 Exhibit 13 [Redacted], # 14 Exhibit 14
                 [Redacted], # 15 Exhibit 15 [Redacted], # 16 Exhibit 16 [Redacted], # 17 Exhibit 17
                 [Redacted], # 18 Exhibit 18 [Redacted], # 19 Exhibit 19 [Redacted], # 20 Exhibit 20
                 [Redacted], # 21 Exhibit 21 [Redacted], # 22 Exhibit 22 [Redacted], # 23 Exhibit 23
                 [Redacted], # 24 Exhibit 24, # 25 Exhibit 25, # 26 Exhibit 26 [Redacted], # 27 Exhibit
                 27 [Redacted], # 28 Exhibit 28 [Redacted], # 29 Exhibit 29, # 30 Exhibit 30A, # 31
                 Exhibit 30B, # 32 Exhibit 31A, # 33 Exhibit 31B)(Best, Stephen) (Entered: 04/06/2023)
04/10/2023 160   NOTICE of Filing Letter in Support of Gerardo Gonzalez−Valencia for Sentencing by
                 GERARDO GONZALEZ−VALENCIA (Best, Stephen) (Entered: 04/10/2023)
04/18/2023 161   STIPULATION is admissible in evidence as a Defendant Exhibit at sentencing (Best,
                 Stephen) (Entered: 04/18/2023)
04/19/2023 162   MOTION for Permission to Use Courtroom Technology at the May 2, 2023 and May 3,
                 2023 Sentencing Hearing by GERARDO GONZALEZ−VALENCIA. (Attachments: # 1
                 Text of Proposed Order Proposed Order re Permission to Use Courtroom
                 Technology)(Best, Stephen) (Entered: 04/19/2023)
04/19/2023 163   NOTICE OF ATTORNEY APPEARANCE: Geoffrey H. Coll appearing for
                 GERARDO GONZALEZ−VALENCIA (Coll, Geoffrey) (Entered: 04/19/2023)
04/20/2023       RESOLVED...NOTICE of Provisional/Government Not Certified Status re 163
                 NOTICE OF ATTORNEY APPEARANCE: Geoffrey H. Coll appearing for
                 GERARDO GONZALEZ−VALENCIA (Coll, Geoffrey).

                 Your attorney renewal/government certification has not been received. As a result, your
                 membership with the U.S. District & Bankruptcy Courts for the District of Columbia is
                 not in good standing, and you are not permitted to file. Pursuant to Local Criminal Rule
                 57.21.1, you must immediately correct your membership status by following the
                 appropriate instructions on this page of our website:
                 https://www.dcd.uscourts.gov/attorney−renewal.

                 Please be advised that the presiding judge in this case has been notified that you are
                 currently not in good standing to file in this court. Renewal Due by 4/27/2023. (zbaj)
                 Modified on 4/21/2023 (zbaj). (Entered: 04/20/2023)
04/24/2023       MINUTE ORDER (paperless), as to GERARDO GONZALEZ−VALENCIA,
                 NOTIFYING the parties that, due to an unexpected conflict, the sentencing hearing
                 scheduled to begin on May 2, 2023, at 9:30 AM is RESCHEDULED to begin on May 2,
                 2023, at 1:00 PM in COURTROOM 26A, Fourth Floor In Person before Judge Beryl A.
                 Howell. The parties are further DIRECTED to confer and submit, by 12:00 PM on April
                 26, 2023, a joint statement advising the Court whether the parties will seek an
                 opportunity to submit post−hearing briefing, and if so, a proposed briefing schedule and

                                                                                                            26
     Case 1:16-cr-00065-BAH Document 187 Filed 07/27/23 Page 27 of 39



                 three available dates for sentencing in June or July 2023. Signed by Judge Beryl A.
                 Howell on April 24, 2023. (lcbah2) (Entered: 04/24/2023)
04/24/2023       Set/Reset Deadlines/Hearings as to GERARDO GONZALEZ−VALENCIA: Sentencing
                 Hearing scheduled for 5/2/2023, at 1:00 PM in Courtroom 26A− In Person before Judge
                 Beryl A. Howell; joint statement due by 12:00 PM on 4/26/2023. (ztg) (Entered:
                 04/24/2023)
04/24/2023 165   MOTION for Leave to Appear Pro Hac Vice Natasha M. Ertzbischoff Filing fee $ 100,
                 receipt number ADCDC−10022002. Fee Status: Fee Paid. by GERARDO
                 GONZALEZ−VALENCIA. (Attachments: # 1 Application for Admission Pro Hac Vice,
                 # 2 Exhibit A − NY Certificate of Good Standing, # 3 Text of Proposed Order)(Best,
                 Stephen) (Entered: 04/24/2023)
04/24/2023       Set/Reset Hearings as to GERARDO GONZALEZ−VALENCIA: Sentencing Hearing
                 scheduled for 5/2/2023 at 1:00 PM in Courtroom 26A− In Person before Judge Beryl A.
                 Howell. (ztg) (Entered: 04/28/2023)
04/25/2023 166   RESPONSE by USA as to GERARDO GONZALEZ−VALENCIA re Order,, (Sahni,
                 Kaitlin) (Entered: 04/25/2023)
04/25/2023       MINUTE ORDER (paperless), as to GERARDO GONZALEZ−VALENCIA,
                 GRANTING defendant's 165 Motion for Admission Pro Hac Vice. Natasha M.
                 Ertzbischoff may enter an appearance pro hac vice for the purpose of representing
                 defendant in this action. Counsel should register for e−filing via PACER and file a
                 notice of appearance pursuant to LCrR 44.5(a). Click for instructions. Signed by
                 Judge Beryl A. Howell on April 25, 2023. (lcbah2) (Entered: 04/25/2023)
04/25/2023       MINUTE ORDER (paperless), as to GERARDO GONZALEZ−VALENCIA, upon
                 consideration of the parties' 166 Joint Response to April 24, 2023 Minute Order and the
                 available times on the Court's schedule, ISSUING the following SCHEDULING
                 ORDER:

                 (1) By June 2, 2023, the government shall submit any supplemental brief in aid of
                 sentencing;

                 (2) By June 16, 2023, defendant shall submit any response to the government's
                 supplemental brief;

                 (3) By June 23, 2023, the government shall submit any reply; and

                 (4) On July 13, 2023, at 9:30 A.M., the parties are DIRECTED to appear in−person in
                 Courtroom 26A for sentencing in this matter.

                 Signed by Judge Beryl A. Howell on April 25, 2023. (lcbah2) (Entered: 04/25/2023)
04/26/2023 167   NOTICE OF ATTORNEY APPEARANCE: Natasha Ertzbischoff appearing for
                 GERARDO GONZALEZ−VALENCIA (Ertzbischoff, Natasha) (Entered: 04/26/2023)
04/27/2023       Set/Reset Hearings as to GERARDO GONZALEZ−VALENCIA: Sentencing Hearing
                 RESCHEDULED for 7/21/2023, at 9:30 AM in Courtroom 26A− In Person before
                 Judge Beryl A. Howell. (ztg) (Entered: 04/27/2023)
04/27/2023       Set/Reset Deadlines as to GERARDO GONZALEZ−VALENCIA: Government's
                 supplemental brief in aid of sentencing due by 6/2/2023; defendant's response due by


                                                                                                           27
     Case 1:16-cr-00065-BAH Document 187 Filed 07/27/23 Page 28 of 39



                 6/16/2023; government's reply, if any, due by 6/23/2023; Sentencing Hearing
                 rescheduled for July 21, 2023, at 9:30 AM in Courtroom 26A, in person, before Judge
                 Beryl A. Howell. (ztg) (Entered: 04/27/2023)
05/02/2023       Minute Entry for proceedings held before Judge Beryl A. Howell: Presentence Hearing
                 (Day 1) as to GERARDO GONZALEZ−VALENCIA (1) held on 5/2/2023. Presentence
                 Hearing (Day 2) scheduled for 5/3/2023, at 9:00 AM in Courtroom 26A− In Person
                 before Judge Beryl A. Howell. Bond Status of Defendant: Defendant
                 committed/commitment issued. Present: Defense Attorneys: Stephen Best, Geoffrey H.
                 Coll, Lilly A. Sanchez, Natasha Ertzbischoff; US Attorneys: Kaitlin J. Sahni, Kate M.
                 Naseef, Kirk K. Handrich; Interpreters: Victoria Dopazo and Katherine Raftopoulos;
                 Government's Witness: Oscar Nava Valencia (testimony continued). (ztg) (Entered:
                 05/02/2023)
05/03/2023       Minute Entry for proceedings held before Judge Beryl A. Howell: Presentence Hearing
                 as to GERARDO GONZALEZ−VALENCIA held on 5/3/2023. Presentence Hearing
                 continued to 5/4/2023, at 9:00 AM in Courtroom 26A− In Person before Judge Beryl A.
                 Howell. Bond Status of Defendant: Defendant committed/commitment issued. Present:
                 Defense Attorneys: Stephen Best, Geoffrey H. Coll, Lilly A. Sanchez, Natasha
                 Ertzbischoff; Rachel O. Wolkinson; US Attorneys: Kaitlin J. Sahni, Kate M. Naseef,
                 Kirk K. Handrich; Probation Officer: Aidee V. Gavito; Interpreters: Victoria Dopazo
                 and Katherine Raftopoulos; Government's Witnesses: Oscar Nava Valencia (testimony
                 resumed and concluded); Jose Maria Guizar Valencia; Elpidio Mojarro Ramirez.
                 Defense Witness: James Holohan.Court Reporter: Elizabeth Saint−Loth. (ztg) (Entered:
                 05/03/2023)
05/04/2023       Minute Entry for proceedings held before Judge Beryl A. Howell: Presentence Hearing
                 (Day 3) as to GERARDO GONZALEZ−VALENCIA held on 5/4/2023. Bond Status of
                 Defendant: Defendant committed/commitment issued. Present: Defense Attorneys:
                 Stephen Best, Geoffrey H. Coll, Lilly A. Sanchez, Rachel O. Wolkinson, Natasha
                 Ertzbischoff; US Attorneys: Kaitlin J. Sahni, Kate M. Naseef, Kirk K. Handrich;
                 Interpreters: Victoria Dopazo and Katherine Raftopoulos; Government's Witness:
                 Special Agent Kevin Novick; Defendant's Witness: Investigator Joseph K. Smith. (ztg)
                 (Entered: 05/04/2023)
05/04/2023 168   EXHIBIT LOG of Exhibits presented by USA and GERARDO
                 GONZALEZ−VALENCIA at the Presentence Hearing of 5/2/2023 through 5/4/2023.
                 (ztg) (Entered: 05/05/2023)
05/22/2023 169   MOTION for Continuance of Briefing Schedule by USA as to GERARDO
                 GONZALEZ−VALENCIA. (Naseef, Kate) Modified Event and Text on 5/23/2023
                 (zhsj). (Entered: 05/22/2023)
05/22/2023       MINUTE ORDER as to GERARDO GONZALEZ−VALENCIA (1), GRANTING 169
                 Joint Motion to Continue Briefing Deadline. Upon consideration of the joint motion, it is
                 hereby ORDERED that the supplemental sentencing briefing deadlines shall be
                 CONTINUED; therefore, the government shall submit a supplemental brief in aid of
                 sentencing by June 16, 2023; the defendant shall submit a response by June 30, 2023;
                 and the government shall submit a reply by July 12, 2023. SO ORDERED. Signed by
                 Judge Beryl A. Howell on 5/22/2023. (ztg) (Entered: 05/22/2023)
06/16/2023 170   SUPPLEMENTAL 153 SENTENCING MEMORANDUM by USA as to GERARDO
                 GONZALEZ−VALENCIA (Naseef, Kate) Modified on 6/21/2023 (zhsj). (Entered:
                 06/16/2023)


                                                                                                             28
    Case 1:16-cr-00065-BAH Document 187 Filed 07/27/23 Page 29 of 39



06/16/2023 172   MOTION For Preliminary Order of Forfeiture And Brief In Support Thereof by USA as
                 to GERARDO GONZALEZ−VALENCIA. (Attachments: # 1 Text of Proposed
                 Order)(Naseef, Kate) (Entered: 06/16/2023)
06/30/2023 173   TRANSCRIPT OF PROCEEDINGS, in case as to GERARDO
                 GONZALEZ−VALENCIA, before Judge Beryl A. Howell, held on 05−02−2023. Page
                 Numbers: 1 − 113. Date of Issuance: 6−30−2023. Court Reporter: Elizabeth Saint−Loth,
                 Telephone number: 202−354−3242. Transcripts may be ordered by submitting the
                 Transcript Order Form

                 For the first 90 days after this filing date, the transcript may be viewed at the courthouse
                 at a public terminal or purchased from the court reporter referenced above. After 90
                 days, the transcript may be accessed via PACER. Other transcript formats, (multi−page,
                 condensed, CD or ASCII) may be purchased from the court reporter.

                 NOTICE RE REDACTION OF TRANSCRIPTS: The parties have twenty−one days
                 to file with the court and the court reporter any request to redact personal identifiers
                 from this transcript. If no such requests are filed, the transcript will be made available to
                 the public via PACER without redaction after 90 days. The policy, which includes the
                 five personal identifiers specifically covered, is located on our website at
                 www.dcd.uscourts.gov.

                 Redaction Request due 7/21/2023. Redacted Transcript Deadline set for 7/31/2023.
                 Release of Transcript Restriction set for 9/28/2023.(Saint−Loth, Elizabeth) (Entered:
                 06/30/2023)
06/30/2023 174   TRANSCRIPT OF PROCEEDINGS in case as to GERARDO
                 GONZALEZ−VALENCIA, before Judge Beryl A. Howell, held on 05−03−2023. Page
                 Numbers: 1 − 191. Date of Issuance: 6−30−2023. Court Reporter: Elizabeth Saint−Loth,
                 Telephone number: 202−354−3242. Transcripts may be ordered by submitting the
                 Transcript Order Form

                 For the first 90 days after this filing date, the transcript may be viewed at the courthouse
                 at a public terminal or purchased from the court reporter referenced above. After 90
                 days, the transcript may be accessed via PACER. Other transcript formats, (multi−page,
                 condensed, CD or ASCII) may be purchased from the court reporter.

                 NOTICE RE REDACTION OF TRANSCRIPTS: The parties have twenty−one days
                 to file with the court and the court reporter any request to redact personal identifiers
                 from this transcript. If no such requests are filed, the transcript will be made available to
                 the public via PACER without redaction after 90 days. The policy, which includes the
                 five personal identifiers specifically covered, is located on our website at
                 www.dcd.uscourts.gov.

                 Redaction Request due 7/21/2023. Redacted Transcript Deadline set for 7/31/2023.
                 Release of Transcript Restriction set for 9/28/2023.(Saint−Loth, Elizabeth) (Entered:
                 06/30/2023)
06/30/2023 175   TRANSCRIPT OF PROCEEDINGS in case as to GERARDO
                 GONZALEZ−VALENCIA, before Judge Beryl A. Howell, held on 05−04−2023. Page
                 Numbers: 1 − 201. Date of Issuance: 6−30−2023. Court Reporter: Elizabeth Saint−Loth,
                 Telephone number: 202−354−3242. Transcripts may be ordered by submitting the
                 Transcript Order Form

                                                                                                                 29
     Case 1:16-cr-00065-BAH Document 187 Filed 07/27/23 Page 30 of 39



                 For the first 90 days after this filing date, the transcript may be viewed at the courthouse
                 at a public terminal or purchased from the court reporter referenced above. After 90
                 days, the transcript may be accessed via PACER. Other transcript formats, (multi−page,
                 condensed, CD or ASCII) may be purchased from the court reporter.

                 NOTICE RE REDACTION OF TRANSCRIPTS: The parties have twenty−one days
                 to file with the court and the court reporter any request to redact personal identifiers
                 from this transcript. If no such requests are filed, the transcript will be made available to
                 the public via PACER without redaction after 90 days. The policy, which includes the
                 five personal identifiers specifically covered, is located on our website at
                 www.dcd.uscourts.gov.

                 Redaction Request due 7/21/2023. Redacted Transcript Deadline set for 7/31/2023.
                 Release of Transcript Restriction set for 9/28/2023.(Saint−Loth, Elizabeth) (Entered:
                 06/30/2023)
06/30/2023 177   Memorandum in Opposition by GERARDO GONZALEZ−VALENCIA re 172 Motion
                 for Miscellaneous Relief Opposition to Motion for Entry of Order of Forfeiture (Best,
                 Stephen) (Entered: 06/30/2023)
06/30/2023       MINUTE ORDER as to GERARDO GONZALEZ−VALENCIA, GRANTING 176
                 Sealed Motion for Leave to File Document Under Seal as to GERARDO
                 GONZALEZ−VALENCIA (1). Upon consideration of the Defendant's sealed motion, it
                 is hereby ORDERED that Gerardo Gonzalez−Valencia's Post−Hearing Response Brief
                 in Aid of Sentencing, and accompanying exhibits shall be sealed in this case. It is
                 FURTHER ORDERED that the defendant shall file on the public docket, in a week, a
                 version with sensitive material redacted. Signed by Judge Beryl A. Howell on
                 6/30/2023. (ztg) (Entered: 06/30/2023)
07/07/2023 179   RESPONSE by GERARDO GONZALEZ−VALENCIA re 170 Sentencing
                 Memorandum [Redacted] Gerardo Gonzalez−Valencia's Post−Hearing Response Brief
                 in Aid of Sentencing (Attachments: # 1 Exhibit D, # 2 Exhibit G, # 3 Exhibit S, # 4
                 Exhibit T, # 5 Exhibit U, # 6 Exhibit V, # 7 Exhibit W)(Best, Stephen) (Entered:
                 07/07/2023)
07/12/2023 180   Reply in Support of 170 Supplemental Sentencing Memorandum by USA as to
                 GERARDO GONZALEZ−VALENCIA (Sahni, Kaitlin) Modified Text on 7/12/2023
                 (zhsj). (Entered: 07/12/2023)
07/12/2023 181   REPLY in Support by USA as to GERARDO GONZALEZ−VALENCIA re 172
                 MOTION For Preliminary Order of Forfeiture And Brief In Support Thereof (Naseef,
                 Kate) (Entered: 07/12/2023)
07/18/2023 182   PRELIMINARY ORDER OF FORFEITURE as to GERARDO
                 GONZALEZ−VALENCIA. See Order for further details. Signed by Judge Beryl A.
                 Howell on July 18, 2023. (lcbah2) (Entered: 07/18/2023)
07/21/2023       Minute Entry for proceedings held before Judge Beryl A. Howell: Sentencing held on
                 7/21/2023 as to GERARDO GONZALEZ−VALENCIA. Defendant sentenced on Count
                 1 to serve a term of life imprisonment; a $100.00 special assessment imposed;
                 imposition of a fine waived; money judgment in the amount of $341,000,000 entered.
                 Oral request by counsel for the defendant for a recommendation for prison camp
                 placement in California, granted. Defendant remanded to the custody of the U.S.
                 Marshals. Bond Status of Defendant: Defendant committed/commitment issued. Present:


                                                                                                                 30
    Case 1:16-cr-00065-BAH Document 187 Filed 07/27/23 Page 31 of 39



                 Defense Attorneys: Stephen Best, Geoffrey H. Coll, Lilly A. Sanchez, Natasha
                 Ertzbischoff, Tiffany B. Lietz; US Attorneys: Kaitlin J. Sahni, Kate M. Naseef, Kirk K.
                 Handrich; Probation Officer: Aidee V. Gavito; Interpreter: Teresa Salazar. Court
                 Reporter: Christine Asif. (Entered: 07/21/2023)
07/21/2023 183   FINAL ORDER OF FORFEITURE as to GERARDO GONZALEZ−VALENCIA.
                 Signed by Judge Beryl A. Howell on July 21, 2023. (lcbah2) (Entered: 07/21/2023)
07/21/2023 184   JUDGMENT as to GERARDO GONZALEZ−VALENCIA. Statement of Reasons Not
                 Included. Signed by Judge Beryl A. Howell on 7/21/2023. (Attachments: # 1 Final Order
                 of Forfeiture for Money Judgment) (zhsj) (Entered: 07/24/2023)
                 Main Document
                 Attachment # 1 Final Order of Forfeiture for Money Judgment
07/21/2023 185   STATEMENT OF REASONS as to GERARDO GONZALEZ−VALENCIA re 184
                 Judgment Access to the PDF Document is restricted per Judicial Conference Policy.
                 Access is limited to Counsel of Record and the Court. Signed by Judge Beryl A. Howell
                 on 7/21/2023. (zhsj) (Entered: 07/24/2023)
07/26/2023 186   NOTICE OF APPEAL − Final Judgment by GERARDO GONZALEZ−VALENCIA re
                 184 Judgment. Filing fee $ 505, receipt number ADCDC−10232010. Fee Status: Fee
                 Paid. Parties have been notified. (Best, Stephen) (Entered: 07/26/2023)




                                                                                                           31
        Case 1:16-cr-00065-BAH Document 187 Filed 07/27/23 Page 32 of 39CO-290
 Notice of Appeal Criminal                                                              Rev. 3/88



          United States District Court for the District of Columbia

 UNITED STATES OF AMERICA                           )
                                                    )
                       vs.                          )        Criminal No. 16-cr-00065-BAH
                                                    )
  Gerardo Gonzalez-Valencia                         )


                                      NOTICE OF APPEAL


Name and address of appellant:                     Gerardo Gonzalez-Valencia




Name and address of appellant’s attorney:          Stephen A. Best (DC Bar No. 428447)
                                                   Brown Rudnick LLP
                                                   601 Thirteenth Street NW Suite 600
                                                   Washington, D.C. 20005


Offense: Conspiracy to Distribute 5 Kilograms or More Cocaine, Aiding and Abetting.

Concise statement of judgment or order, giving date, and any sentence:
     Judgment entered in this action sentencing Gerardo Gonzalez-Valencia to life
     imprisonment on July 24, 2023 [ECF No. 184]


Name and institution where now confined, if not on bail: Rappahannock Regional Jail


        I, the above named appellant, hereby appeal to the United States Court of Appeals for the
District of Columbia Circuit from the above-stated judgment.
 July 26, 2023                                      *HUDUGR*RQ]DOH]9DOHQFLD
 DATE                                               APPELLANT
                                                    6WHSKHQ$%HVW
                                                    ATTORNEY FOR APPELLANT

GOVT. APPEAL, NO FEE
CJA, NO FEE
PAID USDC FEE                ✔
PAID USCA FEE
Does counsel wish to appear on appeal?                          YES ✔        NO
Has counsel ordered transcripts?                                YES ✔       NO
Is this appeal pursuant to the 1984 Sentencing Reform Act?      YES ✔       NO




                                                                                                    32
Case 1:16-cr-00065-BAH Document 187 Filed 07/27/23 Page 33 of 39




                                                                   33
Case 1:16-cr-00065-BAH Document 187 Filed 07/27/23 Page 34 of 39




                                                                   34
Case 1:16-cr-00065-BAH Document 187 Filed 07/27/23 Page 35 of 39




                                                                   35
Case 1:16-cr-00065-BAH Document 187 Filed 07/27/23 Page 36 of 39




                                                                   36
Case 1:16-cr-00065-BAH Document 187 Filed 07/27/23 Page 37 of 39




                                                                   37
Case 1:16-cr-00065-BAH Document 187 Filed 07/27/23 Page 38 of 39




                                                                   38
Case 1:16-cr-00065-BAH Document 187 Filed 07/27/23 Page 39 of 39




                                                                   39
